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     HBU3ATI1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                v.                                S4 15 Cr. 867 RMB

5    MEHMET HAKAN ATILLA,

6                     Defendant.

7    ------------------------------x

8

9                                                  November 30, 2017
                                                   9:15 a.m.
10

11

12   Before:

13                          HON. RICHARD M. BERMAN,

14                                                 District Judge
                                                     and a jury
15

16

17                                 APPEARANCES

18   JOON H. KIM,
          United States Attorney for the
19        Southern District of New York
     MICHAEL D. LOCKARD,
20   SIDHARDHA KAMARAJU,
     DAVID W. DENTON, JR.,
21   DEAN C. SOVOLOS,
          Assistant United States Attorneys
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2              (APPEARANCES Continued)

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4
     HERRICK, FEINSTEIN LLP (NYC)
5         Attorneys for defendant Atilla
     BY: VICTOR J. ROCCO, Esq.
6         THOMAS ELLIOTT THORNHILL, Esq.
          - and -
7    FLEMING RUVOLDT, PLLC
     BY: CATHY ANN FLEMING, Esq.
8         ROBERT J. FETTWEIS, Esq.
          - and -
9    LAW OFFICES OF JOSHUA L. DRATEL, P.C.
     BY: JOSHUA LEWIS DRATEL, Esq.
10                    Of counsel

11

12   Also Present:
          JENNIFER McREYNOLDS, Special Agent FBI
13        MICHAEL CHANG-FRIEDEN, Paralegal Specialist USAO
          MS. ASIYE KAY, Turkish Interpreter
14        MS. SEYHAN SIRTALAN, Turkish Interpreter
          MR. M. TEKIN ESENDAL, Turkish Interpreter
15        MR. BULENT BULUT, Turkish Interpreter

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1              (At the sidebar)

2              MR. ANELLO:    Two quick applications.      One is that

3    Mr. Zarrab would be more comfortable if he could be in civilian

4    clothes today.

5              THE COURT:    No problem.

6              MR. ROCCO:    No objection.

7              MR. KAMARAJU:    And the government doesn't object.       But

8    just because, for example, defense counsel opened on --

9              THE COURT:    Hold on one second though.      We should

10   indicate that you are.

11             MR. ANELLO:    I'm counsel for Reza Zarrab in connection

12   with his appearance as a witness.

13             MR. KAMARAJU:    Obviously the government doesn't object

14   to that in light of the concerns raised yesterday.         But we

15   would note that given that defense counsel opened on the

16   concept of coddling Mr. Zarrab, and I believe in particular

17   used the line "he's reasonable doubt in a suit," we just intend

18   to elicit testimony as to why he's in different clothes and he

19   is still in custody this morning.

20             MR. ROCCO:    They didn't want to concede when he's in a

21   suit he is reasonable doubt.

22             THE COURT:    Two things.    My remarks yesterday were

23   just an observation.     I wasn't directing anybody to do

24   anything.   But it's such common practice that I don't think it

25   needs any discussion, to be honest with you.         If you feel you


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1    have to, I guess you can.      But really, it happens all the time

2    in my experience.    And when the application is made, I always

3    grant it.    It is up to you.

4               MR. KAMARAJU:    It would be a very quick part at the

5    beginning, your Honor.      I don't intend to belabor it.

6               THE COURT:    All right.   We should do it quickly

7    because they haven't brought up Mr. Atilla because Mr. Zarrab

8    is here.    So we'll bring Mr. Zarrab out.      Then we get

9    Mr. Atilla.    We can't start without Mr. Atilla.

10              MR. ANELLO:    Okay.   The other issue, your Honor, is

11   yesterday, we got served with a subpoena, apparently a subpoena

12   for records.    At this point, I've taken a look at it, it's

13   subject to many objections, it is wildly improper.         But I think

14   what I would like to do is have an opportunity to talk to the

15   defense counsel, see if it can be worked out and narrowed.          We

16   may still have issues and we may be before your Honor with a

17   motion.    But, even the scheduling of that is something I would

18   want to talk to defense counsel.

19              MR. ROCCO:    We offered this to Mr. Anello yesterday

20   and we're happy to talk to him.

21              THE COURT:    Whenever you find time.

22              MR. ANELLO:    Thank you, Judge.

23              THE COURT:    I'm going to bring up Mr. Zarrab and then

24   Mr. Atilla.

25              (In open court; jury not present)


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1              THE COURT:    I think we're still waiting for one juror.

2    I think we probably have another five minutes or so.

3              MR. KAMARAJU:    Your Honor, at a point in the direct

4    testimony I'm also going to put that one back up.

5              THE COURT:    Do you need that closer because it's

6    harder to see?

7              MR. KAMARAJU:    I was going to ask the witness to do

8    the same thing he did yesterday.

9              THE COURT:    Sure.   Could we have the jury here now.

10             (Continued on next page)

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1              (Jury present)

2              THE COURT:    We'll continue with the direct examination

3    of Mr. Zarrab.

4              THE DEPUTY CLERK:      Sir, before we begin I'd like to

5    remind you that you're still under oath.

6              THE WITNESS:    Yes.

7              THE DEPUTY CLERK:      You can be seated.    Thank you.

8     REZA ZARRAB,

9          called as a witness by the Government,

10         having been previously sworn, testified as follows:

11   DIRECT EXAMINATION (Continued)

12   BY MR. KAMARAJU:

13   Q.   Good morning Mr. Zarrab.

14   A.   Good morning, sir.

15   Q.   Just quickly, I couldn't help but notice you're wearing

16   different clothes today.     Why is that?

17   A.   Yes, my lawyers informed me yesterday that I could wear

18   different clothes with the permission of the honorable judge,

19   so I am wearing the clothes that they brought for me.

20   Q.   To be clear, are you still in the custody of the FBI?

21   A.   Yes, sir.

22   Q.   Why were you moved to the custody of the FBI?

23   A.   For security purposes, for the threats that I had

24   perceived.

25   Q.   Has anybody made any promises to you about whether you'll


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1    be returned to the bureau of prisons after your testimony?

2    A.   No.

3    Q.   Has anybody made any promises to you as to whether you'll

4    be returned to the bureau of prisons after trial?

5    A.   No.

6               THE COURT:   So, counsel, Mr. Anello will appreciate

7    that I may be overly sensitive to the clothing issue, and the

8    reason is that I'm always hearing in the back of my head my

9    wife saying "What are you wearing?"       So, anyway.

10              MR. KAMARAJU:   I don't have any more questions, your

11   Honor.

12   Q.   Mr. Zarrab, I'd like to direct your attention to October of

13   2012.

14   A.   Yes, sir.

15   Q.   Were you still conducting the Iranian gold business at

16   Halkbank?

17   A.   Yes, sir.

18   Q.   Did you have meetings about that business that month?

19   A.   Yes, sir.

20   Q.   Approximately when was your first set of meetings during

21   that month?

22   A.   It was about the beginning of October.

23   Q.   Who was the first meeting with?

24   A.   It was between me and Iranians.

25   Q.   Where was that meeting?


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1    A.   It was at Swissôtel in Istanbul, Turkey.

2    Q.   Who attended that meeting?

3    A.   From the Iranian side, those from NIOC and from NICO.          And

4    then Indians who were purchasers of oil from Iran joined.           And

5    also another individual from Turkish petroleum companies also I

6    remember that came and left.

7    Q.   Do you remember which of the Iranian officials were at that

8    meeting?

9    A.   Those that I remember include Nikousokhan, Mr. Alipoor,

10   Mr. Rajaeieh was there, Mr. Jashnsaz was there, Mr. Ghalebani

11   came and left.

12   Q.   Let's go through that.     Who is Nikousokhan?

13   A.   The person at the head of the financial department within

14   NIOC, the person with the highest authority in that department.

15   Q.   Remind us what is NIOC.

16   A.   (In English) National Iran Oil Company.

17   (Through Interpreter)     National Iranian Oil Company, the

18   government owned Iran's petroleum company.

19   Q.   Who is Alipoor?

20   A.   Alipoor is the second person authority after Mr. Jashnsaz

21   that works at NICO, which is affiliated with NIOC.

22   Q.   Remind us who is Rajaeieh.

23   A.   Rajaeieh, Mr. Rajaeieh is at the head of Sarmayeh Exchange.

24   He is the CEO and he's the person with the most authority in

25   there.


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1    Q.   Who is Jashnsaz, if I got that right?

2    A.   Mr. Jashnsaz is is the highest authority in NICO company

3    which is affiliated with NIOC.

4    Q.   Who is Ghalebani?

5    A.   Mr. Ghalebani was the highest authority in charge of NIOC

6    during that time period.

7    Q.   I believe you've testified there was some Indian

8    individuals there.     Who were they?

9    A.   I don't remember the name of the company that they

10   represented.    But, I believe that it started with an H, and

11   this was the company that would be -- that was buying crude oil

12   products from Iran from -- Indian company that was buying

13   petroleum products from Iran.

14   Q.   What was the purpose of the meeting?

15   A.   In summary, the meeting entailed the moneys that were

16   accumulating in India just as the crude oil sales proceeds were

17   accumulating in Halkbank in Turkey.       We discussed how to move

18   the accumulated money from India to Turkey.

19             MR. KAMARAJU:    Your Honor, with the Court's

20   permission, I'd ask that Mr. Zarrab be allowed to explain using

21   the diagram.

22             THE COURT:    Sure.

23   Q.   Mr. Zarrab, could you please come down off the witness

24   stand.   And if you could explain what you mean using Government

25   Exhibit 9502.    Maybe turn it a little.


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1              MR. ROCCO:    We'd like to see it.

2              MS. FLEMING:    Turn it this way, a little bit.

3              MR. ROCCO:    Thank you.

4              THE COURT:    Can the jurors see?

5              A JUROR:    Yes.

6    Q.   Okay.   Could you please describe what you were summarizing

7    a moment ago.

8    A.   In short, in order for what I'll say to make sense, I will

9    go over this diagram that I had drawn yesterday in terms of the

10   section that pertains to what I will talk about.

11             The crude oil that NIOC sells to Turkey, they would

12   sell to different countries just the same way.         For example,

13   they sell to India, they sell to China, they sell to Korea,

14   they sell to Japan.     These are the ones that I remember, there

15   are different countries such as Italy also.

16             And India is one of the countries that purchases crude

17   oil from NIOC, just like the Republic of Turkey.          The proceeds

18   that accumulate in the NICO account in India from the sales

19   obtained from the crude oil sales --

20             THE INTERPRETER:     I'm being asked to correct.       NICO is

21   corrected as NIOC.

22   A.   So the attempt was to bring that accumulated money over to

23   Halkbank.

24   Q.   What was the purpose of bringing that money to Halkbank?

25             MS. FLEMING:    Objection, your Honor.


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1              THE COURT:    Overruled.

2              THE WITNESS:    Should I continue?

3              THE COURT:    Yes.

4    A.   In order to use the money within the same system, because

5    this system was not feasible in India, it was easier to access

6    the money at Halkbank to be used in Turkey.

7    Q.   Okay, Mr. Zarrab, if you could please return to the witness

8    stand.

9              I'd like to show you what's been marked for

10   identification as Government Exhibit 202-T.         If we can publish

11   that -- not -- sorry.     Withdrawn.    If we can just show that to

12   the witness starting at page two.

13             Mr. Zarrab, just take a moment to review this, please.

14   A.   Yes, sir.

15   Q.   Do you recognize this exhibit?

16   A.   I recognize it, sir.

17   Q.   What is it?

18   A.   This is a transcript of a phone conversation between myself

19   and Mr. Onur Kaya.

20   Q.   Do you remember this phone call?

21   A.   I remember, sir.

22   Q.   Do you remember listening to this phone call?

23   A.   Yes, sir.

24   Q.   Who participated in the call?

25   A.   Onur Kaya and myself.


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1    Q.   Do you remember approximately when this call occurred?

2    A.   Approximately the beginning of October.

3    Q.   Which year?

4    A.   2012.

5    Q.   Who is Onur Kaya?

6    A.   Mr. Onur Kaya was the chief of staff for Mr. Caglayan, who

7    was the minister of the economy in Turkey at that time.

8    Q.   You testified that you listened to a recording of this

9    call; is that right?

10   A.   That is correct, sir.

11   Q.   Did that recording accurately capture the conversation you

12   had with Kaya?

13   A.   Yes, sir.

14              MR. KAMARAJU:    Your Honor, the government would offer

15   Government Exhibit 202-T and would ask to be able to publish it

16   starting at page two to the jury.

17              MS. FLEMING:    First of all, I think that this is

18   subject to further authentication.       But also, Judge, I think

19   you gave me a continuing objection on relevance and hearsay

20   grounds.

21              THE COURT:   It doesn't go from one day to the next.

22   You have to start over.

23              MS. FLEMING:    I'm starting over.    Objection on hearsay

24   and relevance grounds.

25              THE COURT:   Overruled.


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1              (Government's Exhibit 202-T received in evidence)

2              MR. KAMARAJU:    If we can put that up from page two.

3    Q.   Mr. Zarrab, do you see near the top of the page where you

4    say "Will Mr. Minister be in Turkey at the end of this week on

5    Thursday or Friday?"

6    A.   Yes, sir.

7    Q.   Who are you referring to as Mr. Minister?

8    A.   Mr. Zafer Caglayan.

9    Q.   Why were you asking whether he was going to be in Turkey at

10   that time?

11   A.   Because the Mr. Minister had a trip abroad, and I wanted to

12   confirm whether he'd be in Turkey or not.

13   Q.   What was the purpose of confirming whether he would be in

14   Turkey?

15   A.   We were going to organize a meeting between the Iranian

16   delegates and the minister.

17   Q.   Why were you trying to organize that meeting?

18   A.   During that timeframe, any meetings with the Iranians,

19   including NIOC, the oil minister, Sarmayeh Bank, I was

20   organizing about 90 percent of these meetings of these

21   individuals or these people with Mr. Minister, Zafer Caglayan.

22   Q.   Do you recall if you were able to arrange a meeting at this

23   time with Zafer Caglayan?

24   A.   I don't remember specifically for this date, but we got

25   together many times.     I mean, a meeting between Mr. Zafer


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1    Caglayan and Iranians occurred many times, that I also

2    attended.

3    Q.   I'd like to show you what's been marked for identification

4    as Government Exhibit 204-T.      Turn to page two, please.          Just

5    take a moment to review that, sir.

6    A.   Of course.

7    Q.   Do you recognize that document?

8    A.   I recognize it.

9    Q.   What is it?

10   A.   It is a transcript of a phone conversation.

11   Q.   Have you listened to that phone conversation?

12   A.   I listened to it.

13   Q.   Do you remember that call?

14   A.   I remember it.

15   Q.   Who participated in the call?

16   A.   Murat Sengun and myself.

17   Q.   Who is Murat Sengun?

18   A.   During that time, he was the chief of traffic department in

19   Istanbul police department.

20   Q.   Approximately when did this call occur?

21   A.   In the beginning of October, during the same time frame,

22   these are within very close time frame to each other.

23   Q.   And the recording you listened to, did it accurately

24   capture the conversation you had?

25   A.   Yes, sir.


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1    Q.   What was the purpose of your discussion with Sengun?

2    A.   We had a meeting with Iranian delegates at Halkbank, we

3    were to leave Swissôtel and go to Halkbank for the meeting.

4    Since the meeting at Swissôtel was delayed, we were late for

5    Halkbank.   So I asked for permission from the chief of traffic

6    department in Istanbul police department for me to be able to

7    use the emergency lane in getting there.

8              MR. KAMARAJU:    The government would offer Government

9    Exhibit 204-T subject to connection and ask to publish it for

10   the jury beginning at page two.

11             MS. FLEMING:    No objection with that subject to

12   connection.

13             THE COURT:    Okay, I'll allow it.

14             (Government's Exhibit 204-T received in evidence)

15   Q.   Mr. Zarrab, do you see near the top where you refer to "I'm

16   taking this oil minister of Iran and the entire Iranian oil

17   delegation to Halkbank to the general director there"?

18   A.   I see it, sir.

19   Q.   What did you mean there?

20   A.   As I mentioned earlier, the NICO and NIOC officials that

21   had come from Iran, however, the Iranian oil minister did not

22   attend this meeting.     I did not see the Iranian oil minister

23   during this time frame.

24             MR. KAMARAJU:    We can take that down.

25   Q.   Was there a meeting at Halkbank that day?


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1    A.   Certainly.

2    Q.   Did you attend that meeting?

3    A.   Yes.

4    Q.   Who was at that meeting?

5    A.   There were those from the Iranian side, such as those from

6    NIOC and from NICO, I was there, and officials from Halkbank

7    were there.

8    Q.   Let's start with the Iranians.      Who was there from what you

9    called the Iranian side?

10   A.   Mr. Nikousokhan was there, Mr. Alipoor was there,

11   Mr. Rajaeieh was there, these are the individuals that I

12   remember.

13   Q.   Who was there from Halkbank?

14   A.   The general manager of Halkbank Suleyman Aslan was there,

15   and also Mr. Hakan Atilla, who was the head of the

16   international department was there.

17   Q.   Was that the defendant?

18   A.   Yes, sir.

19   Q.   Where was this meeting?

20   A.   It was at the headquarters building of the Halkbank.

21   Q.   What was the purpose of the meeting?

22   A.   This meeting had two purposes.      The first one was

23   transferring the money that had accumulated in India from the

24   proceeds of NIOC crude oil sales to India.         And secondly, the

25   Iranians put pressure and made a request from Halkbank to be


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1    able to make their international payments.

2              MR. KAMARAJU:    With the Court's permission, I'd ask

3    that Mr. Zarrab be able to use the demonstrative Government

4    Exhibit 9502.

5              THE COURT:    Okay, sure.

6    Q.   Mr. Zarrab, could you explain to the jury what you were

7    just testifying about.

8    A.   The first part was to bring the NIOC money that's in India

9    into the NIOC account at Halkbank.

10             And the second part, the request that came from Iran

11   in this meeting, was NIOC was requesting that Halkbank

12   intermediate or broker the international payment requests on

13   their behalf directly.     In other words, the NIOC officials, the

14   Iranians wanted to access this part, by skipping over these

15   steps, they wanted to reach this step directly themselves.

16             In other words, they were going to give instructions

17   to Halkbank, in other words, this blue arrow there, showing the

18   instructions would have come directly to Halkbank, and then

19   from there, they were requesting that the international payment

20   orders that they had be handled directly from there.

21   Q.   Let's start with the first part.       Bringing the money into

22   Halkbank.   Was that discussed at the meeting?

23   A.   Yes, it was discussed.

24   Q.   What were the results of that discussion?

25             MS. FLEMING:    Can we get who said what as opposed to


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1    what was discussed.

2              THE COURT:    You'll get a chance on cross, too.

3              MR. KAMARAJU:    I intend to ask specifically, your

4    Honor.

5    Q.   What was discussed at that meeting?

6    A.   In that first part, a method, a system was discussed in

7    terms of how we would bring the money from India into Turkey.

8    And that was a very complicated system.        If you wanted, I would

9    be happy to draw that one too.

10   Q.   I think we'll skip the drawing on that one.

11   A.   But shortly, that method was discussed.        So, an account

12   would be created within Halkbank for that Indian company.            And

13   the buyer of crude oil in India would be depositing the money,

14   the payment directly to its account at Halkbank, to the account

15   that would be opened.     And then the funds would be -- would go

16   from there to another Turkish bank, to Arap Turk Bank.           And

17   then I was supposed to get it out of there, in exchange for

18   gold.

19   Q.   And then what would you do with the gold?

20   A.   I would convert it into cash, and would be making these

21   international payments.

22   Q.   Did Halkbank agree to that request?

23             MS. FLEMING:    Objection.

24             THE COURT:    Overruled.

25   A.   They accepted on condition.      They gave one condition with


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1    their acceptance.

2    Q.   First of all, who communicated Halkbank's acceptance?

3    A.   Mr. Suleyman Aslan.

4    Q.   What was the one condition you referred to?

5    A.   That the whole agreement would be thrown away if the fact

6    that this account would be opened for the Indians at Halkbank

7    would leak out to the media.

8    Q.   Now, you mentioned there was a second topic discussed at

9    that meeting.     What was that?

10   A.   Yes.   Within the second part they were requesting that

11   Halkbank ease on the application of regulations, and allow them

12   to deal with their international payments directly.

13   Q.   Who made that request from the Iranian side?

14   A.   Mr. Nikousokhan, Mr. Alipoor.

15   Q.   Did anyone from Halkbank respond?

16   A.   Yes.

17   Q.   What happened next?

18   A.   Mr. Suleyman Aslan said that this was not possible, that

19   they would not be intermediary for making the international

20   payments of Iran.     But that they could continue to do their

21   transactions through the existing system.

22   Q.   What, if anything, was he doing while he said that?

23   A.   Certainly.   He was pointing at me as the existing system.

24   Q.   What happened next?

25   A.   Iranians requested again.


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     HBU3ATI1                    Zarrab - Direct

1    Q.   Then what happened?

2    A.   Mr. Hakan Atilla also said this is not possible, that it

3    wouldn't -- it would be impossible.

4    Q.   What, if anything, was he doing when he said that?

5    A.   He stated that this would not be possible, and he referred

6    to his Mr. general manager what he had said about this, that

7    this could continue on within the existing system.

8    Q.   Mr. Zarrab, you can return to the witness stand.

9                What did you understand Suleyman Aslan to be saying

10   when he said they could continue to use the existing system?

11   A.   I understand that he's referring to what I drew on the

12   diagram, and the system that involves the gold trade -- gold

13   trade system there.

14   Q.   What did you understand the defendant to be saying when he

15   referred to the existing system?

16   A.   Mr. Hakan Atilla was referring to his Mr. general manager,

17   and he was saying that you can use the existing system.

18   Q.   I'd like to show you what's been marked for identification

19   as Government Exhibit 6043.      Do you recognize this document?

20   A.   Yes.

21   Q.   What is it?

22   A.   It is an electronic mail.

23   Q.   Are there two e-mails reflected here?

24   A.   I did not understand the question.

25   Q.   Sure.    It was poorly worded.


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     HBU3ATI1                    Zarrab - Direct

1              Looking at the bottom of the page, what do you see

2    there?

3    A.   I see an e-mail that was sent from Royal Denizcilik.

4    Q.   Do you recognize that e-mail address?

5    A.   Yes, it is an e-mail address that's from, that's used

6    within one of my companies.

7    Q.   Where is the e-mail sent to?

8    A.   To Parham Moslehi.

9    Q.   Do you know who that is?

10   A.   During that time, this was an individual for Sarmayeh Bank,

11   Sarmayeh Exchange, that the person was based in Turkey at that

12   time, was an employee, was an official of this organization.

13              (Continued on next page)

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     HBUPATI2                    Zarrab - Direct

1    Q.   Okay.   Now, looking at -- what's the date of that e-mail?

2    A.   October 12th, 2012.

3    Q.   Now, looking at the top of the page, what do you see there?

4    A.   I see that an e-mail had been sent from Mr. Moslehi Parham.

5    Q.   And who was it sent to?

6    A.   To Imam Mehdizadeh.

7    Q.   Who is that?

8    A.   This was the right-arm person, the second person in charge

9    after Rajaeieh at Sarmayeh Exchange during that period.

10   Q.   Could you turn to the second page of the exhibit, please.

11   Do you recognize what's on the second page of this exhibit?

12             THE INTERPRETER:     We lost it.

13   Q.   It's back.   Do you recognize what's on the second page of

14   this exhibit?

15   A.   Yes, sir.

16   Q.   What's there?

17   A.   There are business cards.

18   Q.   Do you recognize any of those business cards?

19   A.   There are some that I recognize.

20   Q.   Do you recognize any business cards for people who were at

21   your meeting at Halkbank?

22   A.   Yes, there are.

23             MR. KAMARAJU:    Your Honor, the government would offer

24   Government Exhibit 6043.

25             MS. FLEMING:    Objection, relevance and 403.


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     HBUPATI2                    Zarrab - Direct

1              THE COURT:    I'll allow it.

2              (Government's Exhibit 6043 received in evidence)

3              THE COURT:    On my screen it looked like there were two

4    copies of the same set of cards, sort of like in 3D; is that

5    right?

6              MR. KAMARAJU:    I think there was a zoom in is what

7    happened.

8              THE COURT:    So there's just one set?

9              MR. KAMARAJU:    One set.

10             THE COURT:    Do you want to go through those cards so

11   everybody understands?

12             MR. KAMARAJU:    Yes, that was my request, to put them

13   up for the jury now.     Can we publish.

14   BY MR. KAMARAJU:

15   Q.   Now, you testified that you recognize some of these cards;

16   is that right?

17   A.   Yes, sir.

18   Q.   Whose cards do you recognize?

19   A.   Kadri Kaleli.

20   Q.   Who was that?

21   A.   The person that I had mentioned earlier as the person that

22   had attended the meeting at Swiss Hotel representing a Turkish

23   petroleum company.     This was Kadri, Mr. Kadri Kaleli that was

24   from the Turkish Petroleum International Limited.

25   Q.   Do you recognize anybody else's card on here?


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     HBUPATI2                    Zarrab - Direct

1    A.   Mr. Suleyman Aslan, the general manager at Halkbank.

2    Mr. Hakan Atilla.

3    Q.   Anyone else?

4    A.   No, I don't recall the rest.

5    Q.   I'd like to show you what's been marked for identification

6    as Government's Exhibit 205-T.       Take a second and look through

7    that, sir.   Do you recognize it?

8    A.   Yes.

9    Q.   What is it?

10   A.   The transcript of a phone conversation.

11   Q.   Do you remember this call?

12   A.   I remember.

13   Q.   Have you listened to a recording of this call?

14   A.   Yes, I listened.

15   Q.   Did that recording accurately capture your conversation?

16   A.   Yes, it was reflecting.

17   Q.   And who participated in that call?

18   A.   It was Mr. Ozgur Erker and myself.

19   Q.   Who is Ozgur Erker?

20   A.   Ozgur Erker was one of the officials with authority that

21   worked at Arap Turk Bank during that period.

22   Q.   And what is Arap Turk Bank?

23   A.   It's a bank in Turkey.

24   Q.   Approximately when did this call occur?

25   A.   Within the same month of October.


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     HBUPATI2                    Zarrab - Direct

1    Q.   Do you recall when it occurred in relation to the meeting

2    at Halkbank?

3    A.   Certainly.

4    Q.   And when did it occur in relation to that meeting?

5    A.   After the meeting that was held at Halkbank.

6    Q.   And could you summarize the purpose of this call?

7    A.   What I had explained on the diagram earlier about bringing

8    money over from India, Indian money over, and we were to

9    transfer that money from Halkbank to Arap Turk Bank.

10             MR. KAMARAJU:    Your Honor, the government would offer

11   Government Exhibit 205-T, and ask for permission to publish it

12   to the jury.

13             MS. FLEMING:    As long as it's subject to the

14   authentication, no objection otherwise.

15             MR. KAMARAJU:    Yes, your Honor, subject.

16             THE COURT:    I'll allow it.

17             (Government's Exhibit 205-T received in evidence)

18   BY MR. KAMARAJU:

19   Q.   Now, Mr. Zarrab, do you see near the top of the page where

20   you say "I'm talking to Halk, okay"?

21   A.   Yes, sir.

22   Q.   What did you mean there?

23   A.   I'm stating that I discussed this matter with Halkbank, and

24   I'm receiving the final comments from Mr. Ozgur.

25   Q.   And a couple of blocks down there, do you see where you


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     HBUPATI2                    Zarrab - Direct

1    say:    "Umm, it's almost finished, it will go there, then to

2    you, and then from you to me"?

3    A.   Yes, I remember.

4    Q.   What did you mean there?

5    A.   With the first step, the Indian money, it would be sent

6    from India to Halkbank, and from their own accounts that was in

7    Halkbank, it would then go to their own accounts at Arap Turk

8    Bank, and from their account at Arap Turk Bank, it was going to

9    go to my account, and then it would be converted into gold and

10   would be used in that trade.

11   Q.   Why was the money supposed to go from Halkbank to Arap Turk

12   Bank?

13   A.   In order to put another bank in the process to conceal the

14   origin of the money.

15   Q.   And was that discussed at the meeting at Halkbank in

16   October of 2012?

17   A.   Yes, this was discussed as a method.

18   Q.   Okay.   And do you see about halfway down the page where

19   Erker said:    "Which country are they from"?

20   A.   Yes, I see it.

21   Q.   What did you understand him to be asking?

22   A.   He's asking which countries the money will be coming from.

23   Q.   And how do you respond?

24   A.   Italy, India.

25   Q.   And then do you see two blocks down, where you say:             "It's


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     HBUPATI2                    Zarrab - Direct

1    complicated"?

2    A.   Yes, I see it.

3    Q.   What did you mean by that?

4    A.   Because we were planning to bring their money over from

5    other countries, as well, using the same method.

6    Q.   Do you see a little bit further down, just two blocks,

7    where you say:    "Okay.   You will receive TL from Turkey," and

8    the transcript says:     "He/she says he/she is sending TL to

9    Turkey as well and that this doesn't concern him/her.          Do you

10   understand?"    Do you see that?

11   A.   Yes, I see that.

12   Q.   Okay.   So what did you mean there?

13   A.   After the money would arrive from India into their account

14   at Halkbank, Halkbank was to convert that into Turkish Liras.

15   Since it was going to send it in Turkish Liras over to Arap

16   Turk Bank, since it was not going to go through international

17   correspondent, and since it was in Turkish Liras, which meant

18   it would go as EFT, Halkbank was saying it doesn't concern us.

19   We can send this to whomever you would like because they were

20   not concerned about the international banking regulations.

21   Q.   Why was it significant to you that this was going to be

22   sent in Turkish Lira?

23   A.   In order for them to not be using the international banking

24   members.

25              I'd like to give two brief examples about this.           If it


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1    were in dollars, it would have had to go through the United

2    States on its way to Arap Turk Bank.        If it were in Euros, it

3    would have had to go through Europe to come in.         For that

4    reason, being in Turkish Liras, this would stay within Turkey.

5    Q.   And why was it important that it stayed within Turkey?

6    A.   So that it would not get hung up with international

7    filters; so that it will not draw attention.

8    Q.   So do you see next where Erker says:       "So is Halk saying

9    okay"?

10   A.   Yes, sir.

11   Q.   What did you understand him to be asking?

12   A.   He's asking has Halkbank agreed to use this method, to use

13   this system.

14   Q.   And how do you respond?

15   A.   I say, yes, Halkbank said okay.

16   Q.   Do you see next, do you see where he asks you:         "Okay.    Do

17   you mean that includes sending it to me"?

18   A.   Yes.

19   Q.   What did you understand him to be asking?

20   A.   In other words, so does Halkbank agree to send the money to

21   Arap Turk Bank after the money comes into Halkbank?

22   Q.   And how did you respond?

23   A.   I did not give specific facts, but I said Arap Turk and

24   Garanti.

25   Q.   Now, do you see a little further down where you say:            "I


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     HBUPATI2                    Zarrab - Direct

1    just need to wrap things up with Suleyman"?

2    A.   Yes.

3    Q.   What were you referring to there?

4    A.   After I would receive this approval from Arap Turk Bank, I

5    was to go back to Mr. Suleyman and ask for or receive his final

6    approval, and tell him that Arap Turk had agreed to this and

7    receive his final approval that it would be okay to send over

8    to Arap Turk and close up that leg of this system.

9    Q.   Okay.   And do you see a little way down where Erker says:

10   "There -- I mean, you need to talk to him"?

11   A.   Yes, sir.

12   Q.   What did you understand him to be saying there?

13   A.   He is saying after it comes to Halkbank, as it goes to Arap

14   Turk Bank, you need to talk to them.        You need to make that

15   clear with them.

16   Q.   Okay.   And then do you see where you respond, and it

17   carries over to the next page.       "Brother, we talked things out

18   with Hakan and others"?

19   A.   Yes, sir.

20   Q.   What did you mean there?

21   A.   I'm stating that we had talked to Atilla, Mr. Hakan Atilla,

22   and there was no problem.

23   Q.   And can we just scroll down a little bit further to where

24   Erker says:    "I mean, where?    What will you tell me?      Will you

25   tell me to send it here or send it there?        I mean, what are you


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     HBUPATI2                    Zarrab - Direct

1    going to tell me?"     Do you see that?

2    A.   Yes, sir.

3    Q.   What did you understand him to be asking you?

4    A.   He is asking, so will you be asking me to make these

5    international payment requests that come from the Iranians,

6    he's asking me whether he would receive these and be asked to

7    do them.

8    Q.   And how do you respond?

9    A.   I say no.

10   Q.   Now, when you said we talked it out with -- we talked with

11   Hakan and others, what were you referring to?

12   A.   I'm telling Mr. Ozgur Erker that I had talked to Atilla and

13   we had reached on agreement on this, to do this with Halkbank.

14   Q.   Now, did you speak with Suleyman Aslan after this call?

15   A.   I was in contact with Mr. Suleyman Aslan very often; so I

16   would have possibly talked to him.

17              MR. KAMARAJU:   We can take that down.

18   Q.   Did you speak with Suleyman Aslan about the business that

19   was supposed to go through Arap Turk?

20   A.   Yes, I met, sir.

21   Q.   And what did you discuss with Aslan?

22   A.   There was a meeting that was held with Mr. Suleyman during

23   that time.    During that meeting, this topic was discussed.

24   Q.   Okay.

25   A.   And he provided the final approval on it.


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     HBUPATI2                    Zarrab - Direct

1    Q.   Approximately when did that meeting occur?

2    A.   I mean, it was the beginning of October.        It was right

3    after we had talked with the Iranians.

4    Q.   And where did you meet with Aslan at that time?

5    A.   It was at Halkbank.

6    Q.   How many offices did Halkbank have at that time in

7    Istanbul?

8    A.   So I don't know the count.      There would be many branches

9    for Halkbank, but for this meeting I remember Mr. Suleyman

10   asked me to come over to his old office at the old headquarters

11   building.

12   Q.   What did Suleyman Aslan say to you during that meeting?

13   A.   Mr. Suleyman Aslan said that he had some personal concerns

14   and issues, that he was taking a large amount of risk, and that

15   he was feeling uncomfortable about this, and he expressed all

16   his concerns, and expressed that he wanted to ensure his future

17   in some way, and he also stated his expectations.

18   Q.   Let's start with the first thing he said.        What did you

19   understand him to mean by risk?

20   A.   That Caglayan had given him the instructions, but he,

21   himself, was taking on all the risks.

22   Q.   What was that risk?

23   A.   That he would stick out in front of the Americans and that

24   he would draw attention, that he was constantly receiving

25   warnings.


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     HBUPATI2                    Zarrab - Direct

1    Q.   Warnings from who?

2    A.   From America.

3    Q.   Warnings about what?

4    A.   About the concerns that the United States had about the

5    Iranian transactions that they were conducting.

6    Q.   And what did you understand Aslan to mean when he talked

7    about being concerned for his future?

8    A.   He was asking for money.

9    Q.   Did you agree to pay him money?

10   A.   I took it as that.    I was looking at it warmly, and that I

11   would look into it and I'd get back to him about it.

12   Q.   Why did you need to get back to him about it?

13   A.   Because I needed to get approval from Mr. Zafer Caglayan.

14   Q.   I'd like to show you what's been marked as Government

15   Exhibit 206-T.     Would you just take a moment to look at that,

16   please.

17   A.   Yes, sir.

18   Q.   Do you recognize this exhibit?

19   A.   I recognize it, sir.

20   Q.   What is it?

21   A.   It's a transcript of a phone conversation.

22   Q.   Did you participate in this conversation?

23   A.   Yes, sir.

24   Q.   Do you remember that conversation?

25   A.   I remember, sir.


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1    Q.   Have you listened to a recording of that conversation?

2    A.   I listened to it, sir.

3    Q.   And does the recording accurately capture your

4    conversation?

5    A.   It reflected, sir.

6    Q.   Approximately when did this call take place?

7    A.   It was after I had left Mr. Suleyman Aslan's office.

8    Q.   And who were you speaking with during this call?

9    A.   This is Abdullah Happani and myself.

10   Q.   We've heard Mr. Happani's name before, but could you remind

11   us who he is?

12   A.   Abdullah Happani is the second person with authority within

13   my companies, after myself, during that time frame.

14   Q.   Could you describe the general purpose of this call?

15   A.   I'm conveying a summary of my meeting with Mr. Suleyman

16   after I had left that meeting.

17             MR. KAMARAJU:    Your Honor, the government offers

18   Government Exhibit 206-T, subject to connection, and would ask

19   to be able to publish it starting at page 2.

20             THE COURT:    I'll allow it.

21             (Government's Exhibit 206-T received in evidence)

22   BY MR. KAMARAJU:

23   Q.   So, Mr. Zarrab, looking at the top, do you see where you

24   say:   "Fine.   I was with Mr. Suleyman.      I just left"?

25   A.   Yes, sir, I see it.


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     HBUPATI2                    Zarrab - Direct

1    Q.   What did you mean there?

2    A.   I'm saying that I had just left the meeting with

3    Mr. Suleyman Aslan.

4    Q.   And which meeting were you referring to?

5    A.   I'm talking about the meeting that I just explained earlier

6    about, the meeting where Mr. Suleyman had mentioned his worries

7    and concerns and expectations.

8    Q.   And do you see where Happani says:       "What is he saying"?

9    A.   Yes.

10   Q.   What did you understand him to mean there?

11   A.   He's asking why Mr. Suleyman had called me in.

12   Q.   And what do you say in response?

13   A.   I'm saying:   This place is taken care of, just like Abi."

14   Q.   What did you mean by that?

15   A.   I'm saying that just like Zafer Caglayan, this one is

16   asking for money too.

17   Q.   And you see then he asked "How"?

18   A.   I see it, sir.

19   Q.   And what do you say in response?

20   A.   I say the same type same arrangement as Abi.

21   Q.   Who is Abi?

22   A.   Zafer Caglayan.

23   Q.   And do you see a little further down -- actually, just

24   because we talked about it yesterday, remind us, who is

25   Caglayan?


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     HBUPATI2                    Zarrab - Direct

1    A.   Caglayan is the former minister of economy that was

2    minister during that time frame.

3    Q.   Now, do you see a couple of blocks down where you say:

4    "It's even the same arrangement as Abi.        You know, it's the

5    same system"?

6    A.   Yes, sir.

7    Q.   What did you mean there?

8    A.   It's the share of the profit margin.

9    Q.   Now, do you see Happani's response where he says:         "Well,

10   then, will he take care of the jobs that the guys have"?

11   A.   Yes, I see it.

12   Q.   What did you understand him to be asking you?

13   A.   He is asking, so will he assist with the transfer of money,

14   of Iranian money to India and those places, will he help with

15   that.

16   Q.   And how do you respond?

17   A.   I say, yes, he will help.      Anything that involves me, that

18   involves us, he will help.

19   Q.   Now, what do you mean by anything that involves you, he

20   will help?

21   A.   I'm referring to requests that would go from me.         I'm

22   talking about the trade deals that would involve me.

23   Q.   Okay.   And do you see where Happani asks you next:         "So,

24   should a separate one be used for him"?

25   A.   I see it, sir.


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     HBUPATI2                    Zarrab - Direct

1    Q.   What do you understand him to be asking you?

2    A.   So since Zafer Caglayan was a part of the proceeds that

3    were obtained in the trade that we were part of, from the

4    companies, from the money that we were bringing in, he is

5    asking, so should we establish a new company, a different

6    company that allows Zafer Caglayan to do this.

7    Q.   Why would you need to establish different companies?

8    A.   Just so that so that our partnership with Zafer Caglayan

9    would not get mixed up.

10   Q.   To be clear, mixed up with who?

11   A.   I mean, the funds that were being paid to Caglayan out of

12   our current accounts.     He's talking about the bribes that will

13   be paid out from Suleyman Aslan from then on with the new

14   account.

15   Q.   Do you see where Happani says:      "No, I understand, but if

16   we use the existing one, won't the brother know"?

17   A.   Yes, I see it.

18   Q.   Okay.   What do you understand him to be asking you there?

19   A.   Caglayan says he was checking our bank statements from time

20   to time to see what was coming in.       He is saying, will he not

21   notice that we're doing trade with Suleyman Aslan, as well, or

22   through Suleyman Aslan, as well.

23   Q.   And what do you say in response?

24   A.   I say Zafer Caglayan will know.

25   Q.   And how will he know?


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     HBUPATI2                    Zarrab - Direct

1    A.   Because before Suleyman Aslan called me in, I had talked to

2    Zafer Caglayan, and after my meeting with him, I also talked

3    with Zafer Caglayan and got his approval; so I was not going to

4    do anything without his knowledge.       And at the end of the day,

5    we did not do anything -- sorry, we did not hide anything from

6    Zafer Caglayan.    We did everything within his knowledge.           We

7    used the existing accounts, and to Mr. Zafer, we gave the share

8    that was accumulating from that.

9    Q.   Now, do you see a little further down where Happani says:

10   "Good, then.    May it be well.     They should open that channel so

11   that he can take care of the jobs that the guys have"?

12   A.   I see it, sir.

13   Q.   What did you understand him to be saying there?

14   A.   He is saying so long as he takes care of the business about

15   bringing money from abroad for the Iranians.

16   Q.   Now, at the bottom of that page, as it carries over, do you

17   see where you say:     "I also received the okay for Ziraat Bank

18   and Vakif.   They will get going as well.       The Iran business

19   will get moving"?

20   A.   Yes, I see it.

21   Q.   What did you mean there?

22   A.   During that time period, Ziraat Bank and Vakif Bank also

23   wanted to participate in Iranian business.         I had talked to

24   Mr. Zafer Caglayan.     If Ziraat Bank and Vakif Bank were to

25   begin also, he was going to direct me towards those banks, and


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     HBUPATI2                    Zarrab - Direct

1    the accounts would be opened, and I would be working with those

2    banks in the same way.

3    Q.   And what's Ziraat Bank?

4    A.   It's a bank in Turkey.

5    Q.   And what's Vakif?

6    A.   Vakif Bank is also a bank in Turkey.

7    Q.   Okay.   And do you see two boxes down, where you say:           "The

8    prime minister gave orders to Ziraat and Vakif as well"?

9    A.   Yes, I see it.

10   Q.   What did you mean there?

11   A.   Mr. Zafer had told me that Mr. Prime Minister had given

12   approval for this work with, for Ziraat and Vakif to do this

13   work, and I'm conveying that to Mr. Happani.

14             THE INTERPRETER:     "The Iranian trade" should be added

15   in what was translated.

16   Q.   At that time, who was the prime minister of Turkey?

17   A.   Mr. Recep Erdogan.

18   Q.   Now, do you see where Happani says:       "We were expecting

19   Ziraat -- I mean, they were already talking about that"?

20   A.   Yes, sir.

21   Q.   What did you mean there?

22   A.   We were constantly overhearing that Ziraat was going to

23   start with Iranian trade, too.       I mean that one.

24   Q.   And do you see near the bottom, where you say:         "Well,

25   there are still more.     There are three billion Euros"?


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1    A.    Yes.

2    Q.    What did you mean by that?

3    A.    I am stating that Iranians still had three billion Euros

4    deposit or ready at Halkbank.

5    Q.    And how did you learn that?

6    A.    During my meeting with Mr. Suleyman, Mr. Suleyman looked up

7    the overall balance within the system and he turned to me and

8    gave me that balance.

9    Q.    And to be clear, which meeting with Aslan are you referring

10   to?

11   A.    I'm referring to the meeting that was held in person in the

12   old office.

13   Q.    Okay.   I'd like to show you what's been marked for

14   identification as Government Exhibit 207-T.         Take a moment to

15   review that call.      Do you recognize that exhibit?

16   A.    I recognize it, sir.

17   Q.    What is it?

18   A.    It's a transcription of a phone conversation.

19   Q.    Did you participate in that phone conversation?

20   A.    Yes, sir.

21   Q.    Do you remember the call?

22   A.    I recall, sir.

23   Q.    Have you listened to a recording of this call?

24   A.    I listened to it, sir.

25   Q.    Did the recording accurately capture your conversation?


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1    A.   Yes, sir.

2    Q.   Approximately when did this call occur?

3    A.   These are all within a few days.       They are very close

4    together with each other, and it's after I had met with

5    Suleyman Aslan.

6    Q.   Could you summarize the general purpose of this call?

7    A.   I had mentioned that I need to receive final approval from

8    Suleyman Aslan, from the previous phone conversation

9    transcription, and, here, I'm saying that I did speak to

10   Suleyman Aslan and I did receive the final approval.

11   Q.   And I should have asked before, but who were you speaking

12   with during this call?

13   A.   This is Ozgur Erker and myself.

14              MR. KAMARAJU:   Your Honor, the government offers

15   Government Exhibit 207-T, subject to connection.

16              MS. FLEMING:    Subject to connection and

17   authentication.

18              THE COURT:   I'll allow it.

19              (Government's Exhibit 207-T received in evidence)

20              MR. KAMARAJU:   Could we please publish that, beginning

21   on Page 2.

22   BY MR. KAMARAJU:

23   Q.   Do you see about a third of the way down the page, where

24   you say:    "I spoke with Halk -- with Suleyman"?

25   A.   Yes, sir.


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     HBUPATI2                    Zarrab - Direct

1    Q.   And then what did you mean by that?

2    A.   I'm telling him that I had met with Suleyman Aslan.

3    Q.   And then two blocks down, do you see where you say:             "Okay.

4    We agreed about the job that we had discussed"?

5    A.   Yes, sir.

6    Q.   And what were you referring to there?

7    A.   I'm saying that we reached an agreement about the meeting

8    with Halkbank, the first meeting with Halkbank earlier, where

9    we had discussed bringing money from India to Halkbank.

10   Q.   Now, do you see where Erker asks you:       "Did you mention

11   us"?

12   A.   Yes, sir.

13   Q.   What did you understand him to be asking?

14   A.   He is asking whether I conveyed that the funds would then

15   be transferred to Arap Turk.      He's asking whether an agreement

16   was reached on that matter as well.

17   Q.   And how do you respond?

18   A.   I say yes, I mentioned it.

19   Q.   And do you see where you ask:      "Should I not have

20   mentioned"?

21   A.   Yes, I see it, sir.

22   Q.   What did you mean there?

23   A.   I'm saying, so should I not have told Suleyman Aslan that

24   we're going to transfer to Arap Turk.

25   Q.   And what does he say in response?


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1    A.   He says:   "No, I was just asking."

2    Q.   And then do you see where you say:       "No.   I did mention.

3    He just said 'There are two Indian companies.         They should take

4    those two and send them over to us.'        He said, 'Hand washes

5    hand, then the hand washes the face"?

6    A.   Yes, I see that, sir.

7    Q.   What were you saying there?

8    A.   Mr. Suleyman is saying that we could use the same system at

9    Halkbank at Arap Turk Bank.      He's saying there could be two

10   accounts opened at Arap Turk Bank for Indian companies, and

11   then the monies that would be received at Arap Turk Bank would

12   be sent over to Halkbank.      In other words, this is the template

13   of the system in reverse, just copied and pasted.

14   Q.   And what do you understand the phrase "hand washes hand,

15   then the hand washes the face" to mean?

16   A.   What Suleyman was saying is by sending the money from here

17   to Arap Turk, we're assisting them and, in return, they should

18   just help us too.

19   Q.   Okay.   Do you see where you say, two blocks down there:

20   "There are also two Indian companies, Baharat, B-a-h-a-r-a-t,

21   and H -- H-M-E-L, okay"?

22   A.   I see it, sir.

23   Q.   What were you saying there?

24   A.   Mr. Suleyman had asked for these two -- for accounts to be

25   opened for these two companies.       He was saying that money


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1    should come through these two.

2    Q.   Okay.   And do you see where you say:      "He said for those

3    two, they should help us"?

4    A.   Yes, sir.

5    Q.   What does that mean?

6    A.   Mr. Suleyman is saying that Arap Turk Bank should bring the

7    funds over for these two companies, and then they should assist

8    us in transferring that money over from there to Halkbank and

9    he was requesting that I mention this to Arap Turk Bank.

10   Q.   And then do you see where he asks you:        "So I will receive

11   Euros and then send the funds over to them"?

12   A.   Yes, sir.

13   Q.   What do you understand him to be asking?

14   A.   So he's saying, so we'll need the money come to India --

15   will any money come from Arap Turk in Euros.

16   Q.   Did you respond?

17   A.   I'm explaining that, yes, it would come there in Euros, and

18   then it would be converted into Turkish Liras and would be

19   transferred to Halkbank as Turkish Liras.

20   Q.   Okay.   We can turn to the next page, please.        Do you see

21   near the top where Erker asks you:       "Are your guests gone"?

22   A.   Yes, sir.

23   Q.   I guess he asks it twice.      What do you say in response?

24   A.   In summary, I'm saying that some have left and some are

25   still here, and on Monday Mr. Bahmani would be there also.


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1    Q.   Who were the guests?

2    A.   The delegates from the Iranian petroleum companies.

3    Q.   And who did you mean when you say Bahmani?

4    A.   It's the president of the Central Bank of Iran.

5    Q.   And do you see a little further down, where you say:            "As

6    of next week, Ziraat and Vakif will also be engaged"?

7    A.   Yes, I see it.

8    Q.   What did you mean there?

9    A.   Just as I have explained to Abdullah Happani in the

10   previous transcripts, Ziraat and Vakif will start to do trading

11   on the following week.

12   Q.   Do you see where he then asks you with whom did you speak

13   in Ziraat and Vakif?

14   A.   Yes, I see it, sir.

15   Q.   Okay.   And a couple of blocks down you then say:        I spoke

16   with Ankara?

17   A.   Yes, I see it, sir.

18   Q.   What did you mean, "I spoke with Ankara"?

19   A.   I'm referring to Mr. Zafer Caglayan.

20   Q.   And then you see where you say:      "Mr. Prime Minister and

21   Ali Babacan gave approval.      It's finished already"?

22   A.   Yes, I see that, sir.

23   Q.   What were you saying there?

24   A.   So what I'm saying is that's -- the prime minister of that

25   time period, Recep Tayyip Erdogan, and minister of the


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1    treasury, Mr. Ali Babacan, had given instructions, had given

2    order for them to start doing this trade.        And with "for them,"

3    I mean the banks.

4    Q.   How did you learn about that order?

5    A.   From Mr. Zafer Caglayan.

6    Q.   Can we turn to the next page of the exhibit?

7              THE COURT:    Before you do, what was the name of the

8    minister of the treasury?

9              THE WITNESS:    Ali Babacan, your Honor.

10             MR. KAMARAJU:    Thank you, your Honor.      I should have

11   asked that question.

12   Q.   Could you turn to the next page of the exhibit, page 4,

13   please.   And do you see at the top they won't be able to --

14   where you say:     "They won't be able to pull it through"?

15   A.   Yes, sir.

16   Q.   What did you mean there?

17   A.   What I'm saying is that, first, the officers within the

18   bank, they don't know the system, they're not familiar with the

19   system; so they won't be able to pull it off.         And I'm also

20   saying that the banks themselves have connections with

21   New York, with the United States, and I'm basically adding my

22   own opinion there about Ziraat and Vakif Bank and their

23   connections.

24   Q.   Okay.   What does Erker respond to what you say?

25   A.   He says:    "They are hesitating because they have their


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1    things in New York, you know, their affiliates."

2    Q.   And what did you understand him to mean by that?

3    A.   I suppose Ziraat has a branch in New York, and in terms of

4    the effect of the sanctions on them, this might be higher

5    because they have that branch in New York.

6              MR. KAMARAJU:    Your Honor, I don't know when you were

7    planning to take the morning break.

8              THE COURT:    I do.   This is a good time to take a

9    five-minute break.

10             (Jury not present)

11             (Continued on next page)

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1               (At the side bar)

2               MR. KAMARAJU:    I just wanted to note I noticed during

3    some of the testimony, there was some laughter in the back of

4    the courtroom.

5               MS. FLEMING:    It's the journalists understanding

6    Turkish.

7               THE COURT:   I assume it's people understanding

8    Turkish.

9               MR. KAMARAJU:    I just wanted to note that some of the

10   jurors had responded or at least noticed it.         I don't think

11   there's anything to be done about it right now.

12              MS. FLEMING:    I think the rest of us laugh when it

13   gets translated into English.       I think they get it in Turkish

14   first.

15              MR. KAMARAJU:    I just wanted to note that, in case

16   it's a problem.

17              THE COURT:   There are a lot of Turkish people.           I

18   don't know if they're journalists.

19              (Recess)

20              (Continued on next page)

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     HBU3ATI3                    Zarrab - Direct

1               (In open court; jury present)

2              THE COURT:    We'll pick up with the direct examination.

3              THE DEPUTY CLERK:      Sir, just to remind you, you're

4    still under oath.

5              THE WITNESS:    Yes.

6              MR. KAMARAJU:    May I proceed, your Honor?

7              THE COURT:    Yes.

8    BY MR. KAMARAJU:

9    Q.   Mr. Zarrab, I'd like to show you what's been marked for

10   identification as Government Exhibit 208-T.         Just take a moment

11   to look at that.

12             Do you recognize it?

13   A.   Yes, sir.

14   Q.   What is it?

15   A.   It is a transcript of a phone conversation.

16   Q.   Do you remember this call?

17   A.   I recall, sir.

18   Q.   Did you participate in this call?

19   A.   Yes, sir.

20   Q.   Have you listened to a recording of this call?

21   A.   Yes, sir.

22   Q.   Did the recording accurately capture your conversation?

23   A.   Yes, it reflected, sir.

24   Q.   Who participated in the call?

25   A.   Suleyman Aslan and myself.


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     HBU3ATI3                    Zarrab - Direct

1    Q.   Approximately when did this call take place?

2    A.   At a later date than my meeting with Suleyman Aslan.

3    Q.   About how long after that meeting was it?

4    A.   A few days.

5    Q.   What was the general purpose of this call?

6    A.   Mr. Suleyman Aslan had meetings with -- between Halkbank

7    and Iranian delegates as well as other Iranian individuals, and

8    I was not present at that meeting, I did not attend that

9    meeting.    And Mr. Aslan is talking about that meeting.

10              MR. KAMARAJU:    The government offers Government

11   Exhibit 208-T subject to connection and ask to publish it

12   beginning at page two.

13              MS. FLEMING:    Subject to authentication, your Honor.

14              THE COURT:   I'll allow it.

15              (Government's Exhibit 208-T received in evidence)

16   Q.   Mr. Zarrab, do you see at the top near the top where Aslan

17   says "We were with Mr. minister and others.         I defended the

18   matter just like we talked about yesterday.         He said 'We are

19   not doing those,' such as opening accounts for every company

20   and so on."

21   A.   Yes, sir.

22   Q.   What did you understand him to mean by that?

23   A.   If we recall the meeting where -- the meeting with Halkbank

24   where I was in attendance, in that meeting, there was the

25   request made by the Iranians in order for them to be able to


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1    make the international payments directly through Halkbank.

2    Q.   Do you see where he goes on to say "However, I indicated

3    that, um, you were ready in terms of bringing and sending money

4    through the existing system."

5    A.   Yes, sir.

6                MR. KAMARAJU:   Your Honor, I'd ask that Mr. Zarrab be

7    able to use Government Exhibit 9502 to help explain his

8    testimony.

9                THE COURT:   Okay.

10   Q.   What part of this scheme is Mr. Aslan discussing with you

11   at this point?

12               THE COURT:   Excuse me, counsel, when you say "the

13   scheme," are you referring to what's been referred to as the

14   existing system?    Does this chart depict the existing system?

15               MR. KAMARAJU:   Yes, your Honor.    I can ask the witness

16   to clarify that.

17   Q.   Does Government Exhibit 9502 depict the system or the

18   existing system?

19               MS. FLEMING:    Objection.

20               THE COURT:   Overruled.

21   A.   Yes.

22   Q.   What part of the existing system do you understand Aslan to

23   be referring to here?

24   A.   We need to look at the system this way.        The system is like

25   one whole picture.       The system has one purpose.    It is to


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1    fulfill the Iranian request to its final destination.          In other

2    words, taking the Iranian money and getting to its final

3    destination.    And the system and all these methods that are

4    laying in between those, these are just tools and accessories

5    in order to reach this point.

6              And what Mr. Aslan is referring to in this phone

7    conversation, the requests of Iranians in order to reach this

8    point, he is explaining that they could do that through the

9    existing system.    During that time frame, this refers to the

10   gold trade that was happening within the Halkbank, in Halkbank.

11   Q.   When Aslan says you were ready in terms of bringing and

12   sending money through the existing system, what did you

13   understand him to mean?

14   A.   Mr. Aslan is saying that your money is reaching its final

15   destination already, there is already a system in place for

16   that, there is already a person that is dealing with that,

17   indicating myself.     And he's saying this already is working,

18   and you already have a system that does this.

19   Q.   If you could return to the witness stand.

20             Do you see where Aslan says "We said you would be able

21   to make the payment for this thing through the methods we have

22   been using thus far."

23             THE INTERPRETER:     I'm sorry, I didn't see it.

24   Q.   I'll ask the question again.

25   A.   Yes, sir, I see it.


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1    Q.   What did you understand him to mean by that?

2    A.   So what he's saying is the Iranians have an existing system

3    and they can take care of -- they can fulfill their payment

4    request through that existing system already.         There was a

5    request for a gas payment also, and he's referring to that

6    payment as well and saying don't pressure us, you already have

7    a system in place, and you can use that system to make whatever

8    payment you wish to make.

9    Q.   To your knowledge, was this the first time that Aslan had

10   been asked by Iranians to make direct payments?

11   A.   No.   During the meeting where I was present, this request

12   had already been mentioned as well.

13   Q.   Remind us, was there anybody else at Halkbank in attendance

14   at that meeting?

15   A.   At the meeting where I was present with -- during the

16   meeting with Halkbank and Iranian delegates, from Halkbank

17   Mr. Suleyman Aslan and Mr. Hakan Atilla were in attendance.

18   Q.   So, if you could look down at the bottom of page two, you

19   say "Okay, so you deflected it, right?"        Then it goes over to

20   the next page, "I mean you told them it wouldn't work."

21   A.   Yes, sir.

22   Q.   What did you mean by that?

23   A.   So, I'm saying so you told the Iranians that they can't do

24   this directly themselves, right?       And I'm saying you told them

25   that they cannot eliminate me, circumvent me in the system,


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1    right?

2    Q.   How does he respond?

3    A.   He says "Exactly, right, right, exactly."

4    Q.   Do you see next where you ask "Do you think it would be

5    appropriate for me to sit down and talk with Dr. Bahmani?"

6    A.   Yes, sir, I see it.

7    Q.   What were you asking there?

8    A.   I'm asking Mr. Suleyman Aslan's opinion.        This is in

9    regards to the president of the Central Bank of Iran, I'm

10   asking whether me meeting with Bahmani would be beneficial.

11   Q.   Beneficial to what?

12   A.   To increase the trade volume and also while the Iranians

13   were in a tight spot in order to leverage this as a way to

14   amend my relationship with the Central Bank of Iran.

15   Q.   Have you testified before about that relationship?

16   A.   Yes, sir.

17   Q.   Do you see where Aslan responds "Before him, though, um, in

18   my opinion, the person that should have priority is, um, just a

19   second.   Let me say," and then after you say something he goes

20   on to say "Nikousokhan."

21   A.   Yes, I see it, sir.

22   Q.   What did you understand him to be saying there?

23   A.   That Bahmani would not be beneficial and talking with

24   Nikousokhan would be more beneficial.

25   Q.   Okay.   What do you say in response?


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     HBU3ATI3                    Zarrab - Direct

1    A.    So, what I'm saying is, yes, I'm agreeing with Mr. Aslan,

2    I'm saying that I'm already in contact with Nikousokhan, and in

3    terms of the control of the oil money of Iran, since that

4    control is with Mr. Nikousokhan, I am endorsing what he said,

5    and saying that yes, that would be a better individual to talk

6    to.    And I'm saying that I'm already in contact with that

7    person.

8    Q.    Going back to page two quickly.     I believe you testified

9    about a gas payment; is that right?

10   A.    Yes, sir.

11   Q.    Could you explain what you meant by that?

12   A.    The Iranians were purchasing gas from Turkmenistan and

13   since they were making these purchases, they owed money to

14   Turkmenistan.     And they want to make that payment, make the

15   payments related to that.

16   Q.    Is that relationship reflected on Government Exhibit 9502?

17   A.    Yes, sir.

18   Q.    What's the company on Government Exhibit 9502 that would be

19   involved in gas payments?

20   A.    It's Sarmayeh, sir.

21   Q.    Do you see where you say "Yes, as for the gas, I wanted to

22   tell you Iran says Sarmayeh doesn't have sufficient liquidity

23   for gas."

24   A.    Yes, sir.

25   Q.    What did you mean there?


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     HBU3ATI3                    Zarrab - Direct

1    A.   The Iranian gas fund, the gas payments typically accumulate

2    within the Parsian Bank under Halkbank.        And they're saying

3    that they don't have enough liquidity at Sarmayeh to be able to

4    make these payments.     Or make this payment.

5    Q.   What is Parsian Bank?

6    A.   It is a large bank in Iran.

7    Q.   So when you say Parsian Bank existed under Halkbank, what

8    do you mean?

9    A.   Just like Sarmayeh, as I had drawn on the diagram, many

10   Iranian banks have accounts under Halkbank.         And Parsian is

11   among those.

12   Q.   Do you see where Aslan responds "If so, they will transfer.

13   They will transfer."

14   A.   Yes, sir.

15   Q.   What did you understand him to mean there?

16   A.   So, meaning that they could move from the existing NIOC,

17   they could move it directly from the existing -- he's saying

18   that they could send from NIOC and they could send from Parsian

19   and they should just do it within.       Through those.

20   Q.   I'd like to show you what's been marked for identification

21   as Government Exhibit 209-T.      Take a moment to review that

22   document, please, sir.

23   A.   Yes, sir.

24   Q.   Do you recognize it?

25   A.   Yes, I recognize it, sir.


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     HBU3ATI3                    Zarrab - Direct

1    Q.   What is it?

2    A.   It is a transcript of a phone conversation.

3    Q.   Do you remember this call?

4    A.   I recall, sir.

5    Q.   Did you participate in this call?

6    A.   Yes, sir.

7    Q.   Have you listened to a recording of this call?

8    A.   I listened to it, sir.

9    Q.   Did the recording accurately capture your conversation?

10   A.   Yes, sir.

11   Q.   Approximately when did this call take place?

12   A.   It is a short time after I had met with Mr. Suleyman Aslan

13   at his old office, within a few weeks of that meeting.

14   Q.   Who else participated in this call?

15   A.   Abdullah Happani, sir.

16   Q.   Generally speaking, what was the purpose of this call?

17   A.   I'm instructing him to send money to Mr. Suleyman Aslan, to

18   prepare that money to send it to Suleyman Aslan.

19             MR. KAMARAJU:    The government offers Government

20   Exhibit 209-T subject to connection and ask to publish it

21   beginning at page two.

22             MS. FLEMING:    Judge, as long as it's subject to

23   authentication as well.

24             THE COURT:    I'll allow it.

25             (Government's Exhibit 209-T received in evidence)


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     HBU3ATI3                    Zarrab - Direct

1    Q.   Mr. Zarrab, do you see at the top where you say "We will

2    send two to Levent's boss on Monday, get it ready."

3    A.   Yes, I see it, sir.

4    Q.   What were you saying there?

5    A.   I mean Levent Balkan when I say Levent, so I'm saying we're

6    going to send two million to Levent's boss on Sunday.

7    Q.   Who is Levent's boss?

8    A.   Suleyman Aslan.

9              MR. KAMARAJU:    Your Honor, may I approach?

10             THE COURT:    Yes.

11   Q.   I'm showing you what's been marked as Government Exhibit 14

12   for identification.     Do you recognize that exhibit?

13   A.   Yes, sir.

14   Q.   What is it?

15   A.   It a photograph of Mr. Levent Balkan.

16             MR. KAMARAJU:    The government offers Government

17   Exhibit 14 and ask for permission to publish.

18             MS. FLEMING:    No objection.

19             THE COURT:    I'll allow it.    Objection is noted.        I'll

20   allow it.

21             MS. FLEMING:    Judge, I said "no objection."

22             THE COURT:    I'm sorry.    Okay.   I'll allow it without

23   objection.

24             (Government's Exhibit 14 received in evidence)

25   Q.   Why were you directing Happani to send money to Suleyman


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     HBU3ATI3                    Zarrab - Direct

1    Aslan?

2    A.   Pursuant to our meeting with Mr. Suleyman at his old

3    office, and since I'd already received approval from Mr. Zafer

4    Caglayan, I was making this payment.

5    Q.   Do you see where you say "I organized it"?

6    A.   Yes, sir.

7    Q.   What did you mean by that?

8    A.   I don't understand it fully, sir.       I don't recall what that

9    was referring to.

10   Q.   Do you see where you say a little bit down "You will see on

11   Sunday, okay?"

12   A.   Yes, sir.

13   Q.   What were you asking him to do?

14   A.   I'm telling Abdullah Happani that it will be sent on

15   Sunday.

16   Q.   Do you see where Happani says a couple blocks down, "Okay,

17   how, how did you talk, anyway we will do this face to face."

18   A.   Yes, sir.

19   Q.   What did you understand him to mean by that?

20   A.   He's asking what percentage point we would have agreed with

21   Mr. Suleyman.    He's asking what that percentage point is that

22   would be paid as bribe.

23   Q.   What do you understand him to mean when he says "We will do

24   this face to face"?

25   A.   He's saying we would meet face to face when I arrive at the


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1    office.

2    Q.   Do you see about halfway down the page where you say "But

3    this, this man is necessary for us, no matter what."

4    A.   Yes, sir.

5    Q.   What did you mean when you said that?

6    A.   I'm saying that since Suleyman Aslan holds the position of

7    general manager at Halkbank, which is a critical position, I'm

8    saying, and Suleyman is an important person.

9    Q.   Do you see where Happani says "He is necessary, also one

10   can never tell, just might get very strong tomorrow."

11   A.   Yes, sir.

12   Q.   What did you understand Happani to be saying there?

13   A.   During this time frame, our transaction volume was not that

14   high, it was low.     And Abdullah Happani is saying here that it

15   might increase in the future, and that this may come handy.          Or

16   in other words, Abdullah Happani had found 2 million to be a

17   little too much.

18   Q.   What do you mean by that?

19   A.   In other words, as an initial payment, 2 million is a lot

20   of money.   It is a lot.     And in comparison to the profit margin

21   that I have, he's saying that he's finding it a little too

22   much, but he also says it's not that important.         And what he's

23   saying is once the business picks up, then it will make up for

24   that.

25   Q.   Do you see where you say "I think, um, his is more


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1    important than Abi's."

2    A.   Yes, sir.

3    Q.   What did you mean there?

4    A.   I'm saying that this one is more important than Mr. Zafer

5    Caglayan.

6    Q.   Why is that?

7    A.   Because Mr. Suleyman Aslan was the person at the head of

8    Halkbank, and since everything is within Halkbank, since we

9    need to get Iranian money out of Halkbank, inasmuch as it was

10   Zafer Caglayan that had given the instruction, Suleyman Aslan

11   could have come up with some problems on the inside, he could

12   have refused it.

13   Q.   If we can turn to the next page.       Do you see where you say

14   near the top "This is not money thrown out the window, that's

15   what I mean."

16   A.   Yes, sir.

17   Q.   What did you mean there?

18   A.   Since Suleyman Aslan holds an important position and he's

19   in an important role, I'm saying this payment is good and it is

20   important to make.

21   Q.   Do you see where you go on to say "Now, for example, these

22   guys, Iran has come, okay, you know, we are making all the

23   payments here, you know, in dirham and this and that."

24   A.   Yes, sir.

25   Q.   What did you mean by that?


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1    A.   I was fulfilling the international money orders given by

2    Iranians.    And the request from the Iranians was for Halkbank

3    to do this directly instead.      So here, that's what I mean, if

4    Halkbank were to agree to do this, then I would be completely

5    eliminated.

6    Q.   Do you see right below that where you say "Okay, they

7    wanted to do it directly, but these guys threw the ball out of

8    bounds, which pushed Vakif and Ziraat off the circuit."

9    A.   Yes, sir.

10   Q.   What did you mean by that?

11   A.   I'm saying that the Iranians wanted to do this directly,

12   and that they wanted to just do this directly through Ziraat

13   and Vakif also, and I'm relaying that Mr. Suleyman had blocked

14   this and that he was not letting it happen.

15   Q.   Could you turn to page five of the exhibit.        Or actually

16   page four.    Do you see at the bottom where you ask "What is the

17   situation in Dubai?"

18   A.   I see it, sir.

19   Q.   What are you asking there?

20   A.   I'm asking about the dirham cash status for us in Dubai,

21   sir.

22   Q.   Why would that be significant?

23   A.   In order for us to be able to make the international

24   payments for the Iranians, we need money.

25   Q.   Could you turn to page five.      Do you see near the top where


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1    you say "Well you should send, did you send any gold?"

2    A.   Yes, sir.

3    Q.   What did you mean by that?

4    A.   In order for us to be able to fulfill these payments in

5    Dubai, I'm saying make sure to send more gold so we have more

6    money in Dubai.    Just like I had drawn on that diagram.

7    Q.   Do you see Happani's response "I did send, I send

8    200 kilograms again."

9    A.   Yes, I see it, sir.

10   Q.   What did you understand him to be saying?

11   A.   He's saying he had sent 200 kilograms.

12   Q.   What do you say in response?

13   A.   I'm saying if money had come in, why did you send so

14   little.

15   Q.   What did you mean by that?

16   A.   What I'm saying is if we had received money that would be

17   worth more than 200 kilograms, then why did you send only

18   200 kilograms from us to Dubai.

19   Q.   A little further down do you see where Happani says "The

20   incoming money -- no, I'm sending most of that already.              Also,

21   it's not like the incoming money is the thing.         I mean about 15

22   million came in and we were sending 10 of that."

23   A.   Yes, I see it.

24   Q.   What did you understand him to be saying?

25   A.   Abdullah Happani means that there was not much more money


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1    than what's 200 kilograms worth.       He's saying what he came in

2    he already sent out 10 million of that, and that's what it was.

3    Q.   What do you say in response?

4    A.   I'm saying are you sending 10 million.

5    Q.   What does he say in response?

6    A.   He says what I sent is 200 kilograms worth, which is 12

7    million.    He says I'm sending 10 million, 12 million, and the

8    12 million mentioned here is the equivalent of 200 kilograms of

9    gold at that time.

10   Q.   Mr. Zarrab, I'd like to show you what's been marked for

11   identification as Government Exhibit 3736.         Take a moment to

12   look at that.

13              MR. KAMARAJU:   We can also turn to the next page.

14   A.   Yes, sir.

15   Q.   Let me ask some questions about the first page first.           Do

16   you recognize this exhibit?

17   A.   I recognize it, sir.

18   Q.   What is it?

19   A.   It is an electronic mail.

20   Q.   Who sent it?

21   A.   Abdullah Happani.

22   Q.   To whom did he send it?

23   A.   It's myself, sir.

24   Q.   How do you recognize this e-mail?

25   A.   It's the e-mail that I personally used, sir.


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     HBU3ATI3                    Zarrab - Direct

1    Q.   What is the date of the e-mail?

2    A.   April 10, 2013.

3    Q.   Can we turn to the attachment.      What is the attachment?

4    A.   This is the account statement for Zafer Caglayan.

5    Q.   What is reflected on the account statement, on this account

6    statement for Zafer Caglayan?

7    A.   These are the funds that were paid to Zafer Caglayan.

8               MR. KAMARAJU:    The government would offer Government

9    Exhibit 3736 and ask to publish it.

10              MS. FLEMING:    Objection for hearsay and foundation.

11              THE COURT:   Do you want to go through the statement

12   somewhat.

13              MR. KAMARAJU:    Sure, your Honor.

14   Q.   So, what is the title of this document?

15   A.   (In English) "Statement of Account."

16   Q.   What does statement of account mean?

17              MS. FLEMING:    Your Honor, he's reading from a document

18   not in evidence.

19              THE COURT:   I'll allow it.    Go ahead.

20   A.   Can you please repeat the question?

21   Q.   Sure.   What does statement of account mean?

22   A.   It is an internal accounting record that we have within our

23   company.

24   Q.   Who prepared this record?

25   A.   Our accounting, and it would be mainly controlled by


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     HBU3ATI3                    Zarrab - Direct

1    Abdullah Happani.

2    Q.   For what purpose was this record prepared?

3    A.   To keep record of moneys that were paid in order to

4    reconcile the funds that we were receiving from the Iranian

5    trade, or with the moneys that were being paid out.

6    Q.   Why did you need to reconcile those two things?

7    A.   So I was paying 50 percent of -- the specific amount of

8    50 percent to Zafer Caglayan with regard to the Iranian trade

9    that we were conducting.       And a sum of those profits had to be

10   calculated.    And this is to keep an accounting record of how

11   much we had paid and how much is still to be paid on the

12   record.

13             MR. KAMARAJU:    The government would offer Government

14   Exhibit 3736.

15             THE COURT:    I'll allow it.

16             (Government's Exhibit 3736 received in evidence)

17             MR. KAMARAJU:    Can we publish to the jury, your Honor?

18             THE COURT:    Yes.

19             MR. KAMARAJU:    Can we go to page two, please,

20   Mr. Chang-Frieden, thank you.

21   Q.   Let's start with the first column on the left.         You see the

22   one that's labeled tran date?

23   A.   Yes, sir.

24   Q.   What does that column represent?

25   A.   The date that the transaction had been executed.


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1    Q.   Do you see the column next to it, value date?

2    A.   Yes, sir.

3    Q.   Do you know what that column represents?

4    A.   Yes, if the transaction involves a future payment date,

5    then the record date would be different from that.

6    Q.   Do you see the column next to it?

7    A.   Yes, sir.

8    Q.   What does that column show?

9    A.   It shows the type and nature of the transaction.

10   Q.   Let's go to the next column, the column titled number.

11              THE COURT:   Could you stay on that so we could

12   understand the different types of transactions.

13              MR. KAMARAJU:   Certainly.

14   Q.   So let's look at the first row.      What type, what is listed

15   under the type column?

16   A.   PV.

17              (Continued on next page)

18

19

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     HBUPATI4                    Zarrab - Direct

1    Q.   What does PV mean?

2    A.   It's abbreviation for payment voucher.

3    Q.   And what does that mean?

4    A.   It means it's a record of a payment made.        It's a payment

5    that was made out of our safe.

6    Q.   And do you see the entry in that same column for the next

7    row?

8    A.   Yes, sir.

9    Q.   What's written there?

10   A.   AD.

11   Q.   And what does that mean?

12   A.   It's an abbreviation for advice.

13   Q.   What does advice mean?

14   A.   It represents a transfer between our accounts within our

15   accounting software.

16   Q.   And do you see in the same column, the last row?

17   A.   I see it, sir.

18   Q.   What's written there?

19   A.   DBN.

20   Q.   And what does DBN mean?

21   A.   It's an abbreviation for debit note, sir.

22   Q.   And what's a debit note?

23   A.   It's a record of debiting, sir.

24   Q.   The next column over, the number column?

25   A.   That's the record number for this transaction within our


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1    accounting software.

2    Q.   And let's go to the next column.       What's that?

3    A.   It's the explanation made with regards to the transaction,

4    sir.

5    Q.   For the record, that's the column titled Narration; is that

6    right?

7    A.   Yes, sir.

8    Q.   The next column over, titled --

9              THE COURT:    Could we have an explanation?

10             MR. KAMARAJU:    Certainly.

11   Q.   So let's look at the top, under Narration?

12   A.   Yes, sir.

13   Q.   What does it say there?

14   A.   It says "cash to Umit."

15   Q.   What does that mean?

16   A.   The name of the person that took the money to Caglayan.

17   Q.   What's that person's name here?

18   A.   Umit.

19   Q.   Okay.   Now, the next column over?

20             THE COURT:    Before you get to that, so in that column,

21   the second entry is Duman?

22             THE WITNESS:    Yes, sir.

23             THE COURT:    And is that a person?

24             THE WITNESS:    It's the name of the company owned by my

25   brother, sir.


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     HBUPATI4                    Zarrab - Direct

1               THE COURT:   And if you could just go down the column

2    and tell us what the different -- Sadik, for example, and then

3    Yusuf?

4               THE WITNESS:   Your Honor, Sadik is the name of the

5    person that took the money on that particular date to Zafer

6    Caglayan.    Yusuf, Saatci Yusuf represents the amount of money

7    that was paid for the watch that had been paid by the

8    individual and the payment that was paid to Saatci Yusuf.            It's

9    the amount of money that was paid at the direction of

10   Mr. Zafer.

11   Q.   Just to clarify, what watch are you referring to?

12   A.   Many watches.    I don't know which one this represents.

13   Q.   Do you see the row in red, that's highlighted in red?

14   A.   Yes, sir.

15   Q.   What's the date of that transaction?

16   A.   It's October 15th, 2012, sir.

17   Q.   And what does it say in the narration field?

18   A.   "Cash to SLMN."

19   Q.   What does that mean?

20   A.   It was the money that was sent to Mr. Suleyman.

21   Q.   Which Suleyman?

22   A.   Suleyman Aslan.

23   Q.   And how much money was sent to Suleyman Aslan in this

24   payment?

25   A.   Two million Euros.


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     HBUPATI4                    Zarrab - Direct

1    Q.   And we haven't talked about it yet, but the column that

2    says Balance, what does that refer to?

3    A.   It's the sum of payments that have been made.

4    Q.   And what's that sum?     What's that figure for the line in

5    red?

6    A.   It's 27,989,500.    I'd like to clarify this.      This two

7    million amount was entered into Zafer Caglayan's account by

8    mistake.    It was removed later on.     This 27,989,500 Euros is

9    not the sum of monies that were paid to Suleyman Aslan.

10   Q.   Thank you for that clarification.       There's one other thing

11   I want to clarify.     The tran date and the value date fields,

12   just to be clear, on those dates, is the month the first or

13   second date reflected?

14   A.   The months are shown as the second.       In other words, the

15   months are in the middle, sir.

16   Q.   Thank you.   Now, could we go back to page 1 of the exhibit.

17   What's the subject of this e-mail?

18   A.   Cag.

19   Q.   Do you know what that's a reference to?

20   A.   It represents Zafer Caglayan.

21   Q.   And what's the name, the file name of the attachment?

22   A.   That is Cag also.

23   Q.   And what's that a reference to?

24   A.   And that represents that this was the account statement for

25   Zafer Caglayan.


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     HBUPATI4                    Zarrab - Direct

1    Q.   I believe you testified yesterday that there was some

2    discrepancy involving payments to Caglayan; is that right?

3    A.   I had referred to the numbers, amounts not being consistent

4    and maybe that was misunderstood.

5    Q.   What did you mean by that?

6    A.   It means Mr. Zafer Caglayan and us, there was some

7    discrepancy between the amounts that we had sent and what was

8    due.

9    Q.   What was that discrepancy?

10   A.   For example, the amount that had been paid to Suleyman

11   Aslan was erroneously entered into the Zafer Caglayan's

12   account, and I had to make that payment out of my own pocket.

13   Q.   How much was that payment?

14   A.   Two million Euros.

15   Q.   Now, Mr. Zarrab, did you bribe anyone else other than

16   Suleyman Aslan at Halkbank?

17   A.   No, absolutely not.

18   Q.   Did you bribe Levent Balkan?

19   A.   No, absolutely not.

20   Q.   Did you bribe the defendant?

21   A.   No, absolutely not.

22   Q.   Why didn't you bribe anybody else at Halkbank?

23   A.   I was already giving bribes to the Turkish minister of

24   economy.   I was also giving these to the person at the head of

25   Halkbank, to its general manager.       I didn't feel a need to pay


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     HBUPATI4                    Zarrab - Direct

1    any other to any other individuals.

2                MR. KAMARAJU:   Your Honor --

3    A.   In terms of the mentioned individuals, there was no request

4    made by them either.

5                MR. KAMARAJU:   Your Honor, I'm happy to proceed now,

6    but I am going to turn to another section; so I just wanted to

7    let you know, in case...

8                THE COURT:   Yes, let's go another ten or 15 minutes.

9                MR. KAMARAJU:   Okay.

10   Q.   Now, the meeting that you had at Halkbank, I believe you

11   testified it involved bringing Iranian money into Turkey; is

12   that right?

13   A.   Yes.    Yes, that was one part of it.

14   Q.   Did you ever try to copy the system that you had at

15   Halkbank in any other country?

16   A.   Yes, we tried to.

17   Q.   What other countries?

18   A.   For example, in China.

19   Q.   I'd like to show you what's been marked for identification

20   as Government Exhibit 3631.      Just take a moment to review that,

21   please.     Do you recognize that document?

22   A.   I recognize it, sir.

23   Q.   What is it?

24   A.   Electronic mail.

25   Q.   Who sent it?


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     HBUPATI4                    Zarrab - Direct

1    A.   Ruchan Bayar.

2    Q.   Who is Ruchan Bayar?

3    A.   He is one of the staff members that worked in my company

4    during that time period.

5    Q.   And who received the e-mail?

6    A.   Me, sir.

7    Q.   And how do you recognize the e-mail?

8    A.   This is the e-mail address used by me personally, sir.

9    Q.   What's the date of the e-mail?

10   A.   September 10th, 2012.

11              MR. KAMARAJU:    Mr. Chang-Frieden, could we bring up

12   along side of that for the witness and counsel and the Court,

13   Government Exhibit 3631-T.      It has been admitted subject to

14   connection.

15   Q.   Now, Mr. Zarrab, what was the general purpose of Government

16   Exhibit 3631?

17   A.   This is like an information report.       Ruchan Bayar is

18   summarizing for me what we would need to do in our attempts in

19   order to copy our system over there.

20              MR. KAMARAJU:    Your Honor, the government would offer

21   3631 into evidence and ask to publish it, and 3631T.

22              MS. FLEMING:    Objection, foundation, relevance and

23   hearsay.

24              THE COURT:   Yes, so let's have a little bit more on

25   foundation.


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     HBUPATI4                    Zarrab - Direct

1              MR. KAMARAJU:    Okay.

2    BY MR. KAMARAJU:

3    Q.   You mentioned that you were -- what was the purpose of the

4    business in China?

5    A.   That would be the Chinese version of what we were doing in

6    Turkey, which is to take the money out, out of the Chinese

7    banks that would have accumulated from crude oil sales to

8    China, and use that money to make international payments.

9              MS. FLEMING:    Your Honor, I withdraw my objection.

10             THE COURT:    Withdraw it?

11             MS. FLEMING:    Withdraw it.

12             THE COURT:    Okay.   Go ahead.

13             MR. KAMARAJU:    Then, your Honor, the government offers

14   Government Exhibit 3631.

15             THE COURT:    I'll allow them both.

16             (Government's Exhibits 3631 and 3631-T received in

17   evidence)

18             MR. KAMARAJU:    Maybe for ease of reading,

19   Mr. Chang-Frieden, we could just publish 3631-T, unless

20   everybody wants the Turkish version.

21   BY MR. KAMARAJU:

22   Q.   So, Mr. Zarrab, what is the subject line of this e-mail?

23   A.   This is a summary.    It's a summary for forming or

24   establishing companies in China.

25   Q.   And why did you need to establish a company in China?


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     HBUPATI4                    Zarrab - Direct

1    A.   In Turkey, as well, we were getting the money out through

2    companies, and we needed to establish the same system there.

3    Q.   Okay.   And did you ever establish a company in China?

4    A.   Yes, sir.

5    Q.   And do you see, I guess it's No. 5 on the list?

6    A.   Yes, sir.

7    Q.   It says:    "Turhan Yilmaz will make USD 200,000 capital

8    transfer from Istanbul on the 16th of September"?

9    A.   I see it, sir.

10   Q.   Who is Turhan Yilmaz?

11   A.   Turhan Yilmaz is one of the staff members that worked at my

12   company during that time period.

13             THE COURT:    Could you explain four also before that?

14   Q.   Sure.   Mr. Zarrab, if you look at the fourth item on the

15   list, what do you understand Ruchan Bayar to be saying there?

16   A.   That the company would be established by September 16th and

17   that an account for the company named ABLES would be opened

18   within the Construction Bank of China.        He's saying that he had

19   received the initial approval for that.

20   Q.   And the sixth item on the list says -- do you see where it

21   says:   "We will start the business on the 16th of September

22   with one million Euro transfer from Capital Bank"?

23   A.   Yes, sir.

24   Q.   What do you understand that's in reference to?

25   A.   In other words, he's saying that we're going to run a trial


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     HBUPATI4                    Zarrab - Direct

1    transaction at the amount of one million Euros.

2    Q.   Did you actually start the business in China?

3    A.   Yes, we started it, sir.

4    Q.   And did it progress?

5    A.   For a certain period, sir.

6    Q.   What stopped it?

7    A.   The banks.

8    Q.   Which banks were those?

9    A.   Bank of Kunlun, Ping An Bank, Bohai Bank, all the banks

10   that we were working with, they stopped it.         The banks that

11   realized that this had something to do with Iran, they

12   immediately stopped it.

13             THE COURT:    Those banks that you mentioned, are those

14   Chinese banks?

15             THE WITNESS:    Yes, your Honor.     Except for Bank of

16   Kunlun.   Bank of Kunlun was already a bank that was an

17   intermediary bank for Iranian transactions.

18             THE COURT:    How long were you up and running, so to

19   speak?

20             THE INTERPRETER:     Could you repeat that, sir?

21             THE COURT:    How long was he operating before it was

22   stopped in China?

23             THE WITNESS:    It was a few months.

24             MR. KAMARAJU:    Your Honor, I was just about to start

25   sort of a string of exhibits; so it might make sense to take a


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1    break now.

2              THE COURT:    Okay.   All right.    I'm happy to take the

3    lunch break now.    If everybody could be back at 2:00.        It's 20

4    to 1:00 now, and if the jurors wish, they can use the cafeteria

5    on the 8th floor.     Thanks a lot.    We'll see you.

6              (Jury not present)

7              THE COURT:    Okay.   We'll see everybody at 2:00.

8    Thanks a lot.

9              (Pause)

10             THE COURT:    Counsel, could you come up for a minute,

11   or I'll come there.

12             (Continued on next page)

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     HBUPATI4                    Zarrab - Direct

1              (At the side bar)

2              THE COURT:    I just was going to ask if you have sort

3    of an approximation of where we are on Mr. Zarrab's direct?

4              MR. KAMARAJU:    I'd say --

5              THE COURT:    I won't hold you to it.

6              MR. KAMARAJU:    I appreciate that.      I think we've

7    probably gotten through about half.

8              THE COURT:    Half?    So your anticipation is that he'll

9    go --

10             MR. KAMARAJU:    I think he'll go into --

11             THE COURT:    -- next week or finish Friday?

12             MR. KAMARAJU:    Well, I think he may go into like the

13   beginning of Monday.

14             THE COURT:    I see.

15             MS. FLEMING:    On direct?

16             MR. KAMARAJU:    Possible.

17             THE COURT:    Okay.

18             MS. FLEMING:    I'm ready to start.

19             THE COURT:    What, cross?

20             MS. FLEMING:    I'm ready any time.

21             THE COURT:    I think you have to wait for him to

22   finish.

23             MS. FLEMING:    Really?    Can't we do it

24   subject-by-subject?     That would be a good way to do it.

25             THE COURT:    If you have two separate proceedings.        No,


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1    okay.   Then I'll see you at 2:00.

2              MS. FLEMING:    Thanks, Judge.

3              MR. KAMARAJU:    Thank you.

4              (Luncheon recess)

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     HBUPATI4                    Zarrab - Direct

1                     A F T E R N O O N      S E S S I O N

2                                   2:06 P.M.

3              (In open court; jury present)

4              THE COURT:    How is everybody?     Please be seated, and

5    we'll continue with the direct examination of Mr. Zarrab.

6              THE DEPUTY CLERK:     Mr. Zarrab, I'd like to remind you

7    that you're still under oath.

8              THE WITNESS:    (In English)     Yes, ma'am.

9              MR. KAMARAJU:    May I proceed?

10             THE COURT:    Yes.

11             MR. KAMARAJU:    Thank you, your Honor.

12   BY MR. KAMARAJU:

13   Q.   Now, Mr. Zarrab, I think when we broke we were talking

14   about the business in China; do you remember that?

15   A.   Yes, that's right.

16   Q.   I'd like to show you what's been marked for identification

17   as Government Exhibit 3748.      Take a moment to review it.

18   A.   It's not up yet.    It's up.

19   Q.   If you'd just take a moment to review that.         Do you

20   recognize it?

21   A.   Yes, sir.

22   Q.   What is it?

23   A.   Electronic mail.

24   Q.   Let's start at the bottom of the document, what do you see

25   there?


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1    A.   It's information about the company that we had established

2    in China, the ABLES Tianjin International Trading Company, and

3    also a text of -- it's a text.       It's a draft text that was

4    prepared to be presented to the banks in China.

5    Q.   Okay.   And is that draft text contained in an e-mail?

6    A.   Yes, sir.

7    Q.   And who sends that e-mail?

8    A.   The person that sends it to me is Ruchan Bayar.

9    Q.   And just remind us who is Ruchan Bayar?

10   A.   He is a personnel that was working in my company during

11   that time.    He was dealing with the Chinese matters during that

12   time.

13   Q.   And what's the date of the e-mail?

14   A.   July 3rd, 2013.

15   Q.   And the text contained in the e-mail, does that relate to

16   the business you were doing in China?

17   A.   Yes, it's related to the Iranian trade.

18             MR. KAMARAJU:    Your Honor, the government would offer

19   Government Exhibit 3748 and ask that it be published.

20             THE COURT:    I'll allow it.

21             (Government's Exhibit 3748 received in evidence)

22   BY MR. KAMARAJU:

23   Q.   Okay.   So let's turn to the text that you testified before.

24   Tell us again, what is that?

25   A.   In shortly -- in summary, this was a reference letter that


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1    was written to be presented to banks in China.

2    Q.   And why did you need to present a reference letter to banks

3    in China?

4    A.   Ruchan Bayar in China said that he had a need for this

5    because your business in China was not as easy as it was in

6    Turkey.     We were facing some problems there, and this was at

7    his request.

8    Q.   And what kind of problems was your business facing?

9    A.   They were not conducting the transactions.

10   Q.   And do you know why they weren't conducting the

11   transactions?

12   A.   They were suspicious that the transactions might be related

13   to Iran.

14   Q.   Did you try to get this reference letter?

15   A.   Yes.

16   Q.   What steps did you take to try to get the reference letter?

17   A.   I made the request to the ministry of interior.

18   Q.   Who did you convey that request to?

19   A.   To the son of the minister of interior, at that time, of

20   the Republic of Turkey by the name of Muammer Guler.

21   Q.   And what was the son's name?

22   A.   Can you repeat the question, please?

23   Q.   Yes, I'm sorry.    What was the son's name?

24   A.   Baris Guler.

25               MR. KAMARAJU:   Okay.   May I approach, your Honor?


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     HBUPATI4                    Zarrab - Direct

1    Q.   I'm showing you what's been marked for identification as

2    Government Exhibit 15; do you recognize that?

3    A.   Yes, I recognize it.

4    Q.   What is it?

5    A.   It's a photograph of Mr. Muammer Guler.

6              MR. KAMARAJU:    Your Honor, I'd offer Government

7    Exhibit 15.

8              THE COURT:    I'll allow it.

9              (Government's Exhibit 15 received in evidence)

10             MR. KAMARAJU:    Permission to publish?

11             THE COURT:    Sure.

12   BY MR. KAMARAJU:

13   Q.   So while that's going up, let me ask you.        Why did you

14   approach the Turkish minister of the interior's son about this

15   letter?

16   A.   Baris Guler was working as a consultant for our companies

17   during that time while he was the -- while his dad was the

18   minister of interior.

19   Q.   And how did you communicate with Baris Guler?

20   A.   I met in person.    I communicated via telephone.       I messaged

21   through WhatsApp.

22   Q.   Okay.   Were you ultimately successful in obtaining the

23   letter?

24   A.   Yes, sir.

25             MR. KAMARAJU:    Your Honor, may I approach?


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     HBUPATI4                    Zarrab - Direct

1                THE COURT:   Yes.

2    BY MR. KAMARAJU:

3    Q.   I'm showing you what's been marked for identification as

4    Government Exhibit 3750.        Do you recognize that document?

5    A.   Yes, I recognize it.

6    Q.   Okay.    What is it?

7    A.   It's the letter that the minister of interior Muammer Guler

8    had written to the bank in China.

9    Q.   Okay.    And is the document an e-mail?

10   A.   Yes.    I received it as an e-mail, and I sent it forward to

11   Ruchan Bayar as an e-mail as well.

12   Q.   And who did you -- I'm sorry, withdrawn.        You said you sent

13   it to Ruchan Bayar?

14   A.   Yes.    Yes, sir, in a report to be forwarded to the banks in

15   China.

16               MR. KAMARAJU:   Your Honor, the government would offer

17   Government Exhibit 3750.

18               THE COURT:   Is it on the screen?

19               MR. KAMARAJU:   It appears not to be.     Let me just

20   check real quick.

21               MS. FLEMING:    Objection, relevance.

22               THE COURT:   Any way to enlarge that?

23               MR. KAMARAJU:   I believe it's in Turkish.

24               THE COURT:   Yes.    Is there a translation?

25               MR. KAMARAJU:   No, I'm sorry.    We don't have a


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     HBUPATI4                    Zarrab - Direct

1    translation of this one, your Honor.

2                THE COURT:   I'll allow it for whatever it's worth.

3                (Government's Exhibit 3750 received in evidence)

4                MR. KAMARAJU:   Okay.   I don't intend on asking him a

5    lot of questions about the text of the document.          In fact, I

6    don't intend to ask him any questions about the text of the

7    document.

8    BY MR. KAMARAJU:

9    Q.   You said you transmitted this letter to Ruchan Bayar,

10   right?

11   A.   Yes, that's correct.

12   Q.   Did you have to pay anyone to obtain this letter?

13   A.   Yes.

14   Q.   How much did you have to pay?

15   A.   Approximately one $100,000.

16   Q.   And who did you pay that to?

17   A.   To Baris Guler.

18   Q.   If we could please, I'd like to show you what's been marked

19   for identification as Government Exhibit 232-T.         The second

20   page, please.

21   A.   Yes, sir.

22   Q.   Okay.    Do you recognize the exhibit?

23   A.   Yes, I recognize it.

24   Q.   What is it?

25   A.   It's a transcription of a phone conversation.


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     HBUPATI4                    Zarrab - Direct

1    Q.   Did you participate in this conversation?

2    A.   Yes, sir.

3    Q.   Have you listened to a recording of this conversation?

4    A.   Yes, I listened to it, sir.

5    Q.   Did the recording accurately capture your conversation?

6    A.   Yes, it reflected, sir.

7    Q.   And who participated in this call?

8    A.   Ruchan Bayar and myself.

9    Q.   And what generally was the purpose of this call?

10   A.   With regard to Iranian trade.      He was giving me information

11   about a bank in China, after his communications with them.

12             MR. KAMARAJU:    Your Honor, the government would offer

13   Government Exhibit 232-T subject to connection.

14             MS. FLEMING:    And subject to authentication.

15             THE COURT:    Okay.   I'll allow it.

16             (Government's Exhibit 232-T received in evidence)

17             MR. KAMARAJU:    Could we please publish that starting

18   at page 2.

19   BY MR. KAMARAJU:

20   Q.   Now, if you could look down to about near the bottom of the

21   page where you say: "Of course, like Levent Balkan"?

22   A.   Yes, I see it.

23   Q.   What were you trying to say there?

24   A.   I'm giving Levent Balkan at Halkbank just as an example, a

25   person like Levent Balkan as an example.


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     HBUPATI4                    Zarrab - Direct

1    Q.   What did you mean, "a person like Levent Balkan"?

2    A.   During a phone conversation with Ruchan Bayar, Ruchan Bayar

3    was conveying to me the summary of his meeting.         In order for

4    me to understand the positions that were held by the

5    individuals that were at his meeting, we were doing a

6    comparison of these individuals with individuals at Halkbank,

7    the positions, so that we can understand these positions.

8              So I'd like to give you an example such as this one.

9    The X person that he might be meeting with, he has tried to

10   express that this would be a counterpart or an equivalent of

11   the position that was held by Levent Balkan in Turkey.           So here

12   I'm asking him, so like Levent Balkan?

13   Q.   And what was your understanding of Levent Balkan's role at

14   Halkbank?

15   A.   Mr. Levent Balkan, while he was still within the bank, he

16   participated very closely in the daily transactions that we

17   were running with Iran at that time.

18   Q.   Okay.   And you see, I guess it's two blocks down, where

19   Bayar says:    "Then there is a lower-ranked man that is on our

20   side, and then there is a Suleyman."

21   A.   Yes, I see it.

22   Q.   What did you understand him to be saying there by "there is

23   a lower-ranked man that is on our side"?

24   A.   He had given money to a lower-ranked person at the bank

25   branch and that person had accepted that; so he's referring to


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     HBUPATI4                    Zarrab - Direct

1    the lower-ranked person.

2    Q.   And what is your understanding of what he means when he

3    says "then there is a Suleyman"?

4    A.   He is referring to Suleyman Aslan as an example at

5    Halkbank.

6    Q.   And what was your understanding of Suleyman Aslan's role at

7    Halkbank?

8    A.   Suleyman Aslan is the general manager of Halkbank and was

9    the person with the highest authority there.

10   Q.   Can we turn to page 3, please.      And do you see at the top

11   where Bayar says:     "So Mr. Wo definitely doesn't want to work

12   with us -- for sure, one hundred percent.        First of all, he

13   says we can't do intermediary trade through them."

14   A.   Yes, I see it.

15   Q.   What did you understand him to be saying there?

16   A.   That the person at the bank, Mr. Wo, did not want to be

17   participating in the trade with Iran, especially intermediate

18   trade with Iran as an intermediary on their part.

19   Q.   And then two blocks down, do you see where he says:

20   "Second, they absolutely never allow gold, jewelry items or

21   nuggets;" do you see that?

22   A.   Yes, I see it, sir.

23             (Continued on next page)

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     HBU3ATI5                    Zarrab - Direct

1    Q.   What did you understand him to mean there?

2    A.   He's saying that the bank is absolutely not allowing the

3    same trade that we're doing at Halkbank to occur in China.

4    Q.   Can we turn to page five.      Do you see at the bottom where

5    you say "There is only one opposition man, they have him tied

6    up tight."   My apologies.     Bayar says "There is only one

7    opposition man, they have him tied up tight.         He's like Hakan,

8    I mean, exactly, he's in charge of foreign trade,

9    international -- he's the business manager."

10             Do you see that?

11   A.   Yes, I see it.

12   Q.   What did you understand him to mean when he said "There's

13   only one opposition man, they have him tied up tight"?

14   A.   A different Iranian person was partially working with the

15   bank, the equivalent of Mr. Hakan, would be the head of the

16   international department at the Chinese bank.         That person was

17   in close relationship with this other person, and for that

18   reason, he was not allowing another person to come in to do the

19   trade.

20   Q.   Who did you understand him to be referring to when he said

21   Hakan?

22   A.   Mr. Hakan Atilla.

23   Q.   Could we turn to page 11, please.       Do you see near the top

24   of the page where you say "Without you baiting the person who

25   is in Hakan's boss' position at the bank or" -- and you get


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1    interrupted, "the one who is in Hakan's position, the one who

2    is in opposition, nothing will happen."

3                Do you see that?

4    A.   Yes.

5    Q.   What did you mean there?

6    A.   Without giving a bribe, a share or money to the person who

7    is in the same position as Suleyman Aslan in China, or without

8    giving money -- without giving bribes to the person who is

9    blocking Ruchan who was in the same position as Hakan Atilla in

10   the bank in China.       I'm saying there is no way he can pull this

11   off.

12   Q.   How long did your business in China last?        Your Iranian

13   business in China?

14   A.   A few months.

15   Q.   What caused it to stop?

16   A.   Banks.

17   Q.   What made the banks stop the business?

18   A.   As soon as they understood that the money trade had

19   something to do with Iran, they stopped it.         In other words,

20   they stopped it as soon as they understood or as soon as the

21   suspicion formed that these moneys were involved in making

22   international payments on behalf of Iran.

23               THE COURT:    Could I see counsel just for a minute at

24   the sidebar.

25               (Continued on next page)


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1              (At the sidebar)

2              THE COURT:    I'm not exactly understanding.       We're off

3    in China now with this last hour or so.

4              MR. KAMARAJU:    Well, I think there were a couple of

5    different things, but I'm about to end the China piece.

6              THE COURT:    So they folded the China piece.       The

7    Chinese did.

8              MR. KAMARAJU:    The Chinese did.     I'm about to dial it

9    back to Halkbank with two questions and be done.

10             But the purpose of it was, frankly, to show the

11   relationship and understanding among co-conspirators of various

12   people's roles at the bank and how they interacted with the

13   Iranian business at Halkbank.

14             So, the last call we went through where they went

15   through three high-ranking Halkbank individuals, including the

16   defendant, and analogized them to people at the Chinese bank.

17             MR. ROCCO:    What is the relevance of that?

18             MR. KAMARAJU:    Their understanding.

19             MS. FLEMING:    How is it not hearsay?

20             MR. ROCCO:    It's pure hearsay.

21             MR. KAMARAJU:    It is a co-conspirator statement.

22             THE COURT:    Whatever.    I think we should get back to

23   Turkey.

24             MR. KAMARAJU:    I'm going to ask one more very short

25   question on it.    It won't be on any document.       And we'll be


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1    back in Turkey.

2              (Continued on next page)

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1              (In open court)

2    BY MR. KAMARAJU:

3    Q.   Mr. Zarrab, I think I asked you how long did the Iranian

4    business in China last.      Let me ask you this:     How long did the

5    Iranian business at Halkbank last?

6    A.   From 2012 until I got arrested.

7    Q.   I'd like to show you what's been marked for identification

8    as Government Exhibit 2511.      Do you recognize that document?

9    A.   Yes, sir.

10   Q.   What is it?

11   A.   This is an electronic mail.

12   Q.   Did you receive this e-mail?

13   A.   No, sir.

14   Q.   Do you recognize any of the e-mail addresses identified on

15   this e-mail?

16   A.   There are ones that I do know.

17   Q.   Let's start with the sender.      Do you recognize the sender?

18   A.   No, I only know it's from Halkbank.

19   Q.   Let's look at the "to" line.      Do you recognize any e-mail

20   addresses on the "to" line?

21             MS. FLEMING:    Objection.

22             THE COURT:    Overruled.

23   A.   Yes, I know, sir.

24   Q.   Whose e-mail address do you recognize on that?

25   A.   Sinem and Umut.


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1    Q.   Who is Sinem?

2    A.   Sinem was one of my personnel who worked in my company at

3    that period of time.

4    Q.   And who is Umut?

5    A.   Umut's full name, Umut Bayraktar, is also one of the

6    persons who were working for me as a personnel in my company.

7    Q.   Just to be clear, which of the e-mail addresses on the "to"

8    line belong to Sinem?

9    A.   The first one.

10   Q.   Which one belongs to Umut?

11   A.   The second one.

12   Q.   What is the date of the e-mail?

13   A.   July 24, 2013.

14   Q.   Do you recognize any e-mail addresses on the cc line?

15   A.   There are ones that I do, yes.

16   Q.   Which ones do you recognize?

17   A.   Mujgan Beyhan.

18   Q.   Who is that?

19   A.   She's one of the authorized persons in Halkbank where we

20   had our account in the branch.

21   Q.   What is the subject line of this e-mail?

22   A.   That's a record of closed and unclosed transactions for the

23   moneys that came to Safir and Royal companies from outside the

24   country.    For exports, closing records.

25              MR. KAMARAJU:   Can we turn to Government Exhibit


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1    2511-1, please.

2    Q.   Mr. Zarrab, is this one of the attachments that was

3    described in the prior exhibit?

4                MS. FLEMING:    Judge.

5                THE COURT:   Is that a question?

6                MS. FLEMING:    Objection.   No foundation.

7                THE COURT:   I didn't understand the question.

8                MR. KAMARAJU:   I asked if this was one of the

9    documents that was referred to in the prior exhibit.

10               THE COURT:   I'll allow that.    Go ahead.

11   A.   Yes.    That's one of the attachments of the previous e-mail.

12   Q.   What is written at the top of the attachment?

13   A.   Royal Maritime, Iranian transactions by the date 8/2/2013.

14   Q.   What is Royal Maritime?

15   A.   A company that was owned by me.

16   Q.   Do you have an understanding of what this document is?

17   A.   Yes, of course.

18   Q.   What is it?

19   A.   We had a limited amount of time to do the exports for the

20   moneys that came to the Halkbank account.        So firstly we were

21   taking the money out of Halkbank, and later, in the period

22   either 30 days or 60 days, which I don't remember exactly, we

23   were supposed to realize the export as an exchange for the

24   amount of money that was received.       We had to do the gold

25   export equivalent to the amount that we received in money.           I


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1    can show it on the drawing if they want.

2              MR. KAMARAJU:    With your Honor's permission.

3              THE COURT:    I'm trying to figure out what this

4    document is.

5              MR. KAMARAJU:    I thought he might explain on there,

6    but I'm happy to ask him some more question first.

7              THE COURT:    You put it up on the screen, right?

8              MR. KAMARAJU:    Yes.

9              MS. FLEMING:    He testified he never saw it.

10   Q.   When you referred to gold exports, was there any sort of

11   reconciliation process you had to go through?

12   A.   Yes, we had to send the equivalent amount of gold for the

13   money that is coming in.

14   Q.   Who did you have to reconcile with?

15   A.   With Halkbank.

16   Q.   Why did you have to do those reconciliations?

17   A.   Because the documents of the money that came had to be

18   reconciled within the bank with the exports that are made.

19   Q.   I'm not sure -- I cut you off.

20   A.   So this is the record of what we were doing to reconcile

21   the Iranian transaction, we were covering it with gold.

22   Q.   Are you familiar with the recordkeeping process for the

23   reconciliation?

24   A.   Yes, generally I know, but mainly my personnel was in

25   contact with the bank, and they would do the details.


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1    Q.   Is your familiarity with your company's reconciliation

2    process?

3    A.   Yes.

4    Q.   Did that process involve receiving information from

5    Halkbank?

6    A.   Yes, of course.

7    Q.   Looking at Government Exhibit 2511-1, are these the kinds

8    of documents you received from Halkbank as part of that

9    reconciliation process?

10   A.   Yes, sir.

11   Q.   I'd like to show you what has been marked as Government

12   Exhibit 2511-2.    Is this one of the documents that was referred

13   to in Government Exhibit 2511?

14   A.   Yes, sir.

15   Q.   Looking at the document, do you recognize it as --

16               THE COURT:   Is it an attachment to the e-mail?          Is

17   that what it is, another attachment?

18               MR. KAMARAJU:   Yes, your Honor.

19               THE WITNESS:    Yes, sir.

20   Q.   Do you recognize Government Exhibit 2511-2 as the kinds of

21   documents your company would receive as part of the

22   reconciliation process?

23   A.   Yes, sir.

24   Q.   I'd like to show you what's been marked as Government

25   Exhibit 2511-3.    Is this another attachment to the e-mail that


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1    was Government Exhibit 2511?

2    A.   Yes, sir.

3    Q.   Is this another example of the kinds of documents you would

4    receive from Halkbank as part of the reconciliation process?

5    A.   Yes, sir.

6    Q.   Finally I'd like to show you what's been marked as

7    Government Exhibit 2511-4.      Is this another attachment to

8    Government Exhibit 2511?

9    A.   Yes, sir.   It is a list of amounts that came from Iran,

10   which belongs to another company of ours.

11   Q.   Which company is that?

12   A.   Safir Gold.

13   Q.   Ultimately, what was the purpose of the reconciliation

14   process?

15   A.   The documents at the bank for the money that came from Iran

16   to do the documentation and to close it and then organize the

17   documents, indicating the ultimate arrival point within the

18   directions given by the bank.

19   Q.   You testified about two e-mails of yours -- I apologize.

20   Two employees of yours who received this e-mail.          Do you

21   remember that?

22              MS. FLEMING:   Objection.

23              THE COURT:   Sustained.

24   A.   Yes, sir.

25              THE COURT:   Hold it.


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1                MR. KAMARAJU:   Can we turn back to Government Exhibit

2    2511.

3    Q.   Looking at the "to" line.

4    A.   Yes, sir.

5    Q.   Whose e-mail addresses are those?

6    A.   These are the e-mails for the two persons who are the

7    personnels who worked for my company.

8    Q.   Did those employees have any responsibilities relating to

9    the reconciliation process?

10   A.   Yes.    These are the authorized personnel who were in touch

11   with the Halkbank to ensure the closing of the account.

12   Q.   Were they responsible for receiving information from

13   Halkbank related to closing accounts?

14   A.   Yes, sir.

15               MR. KAMARAJU:   The government would offer Government

16   Exhibit 2511, 2511-1, 2511-2, 2511-3 and 2511-4.

17               MS. FLEMING:    Objection.   Hearsay and foundation.

18               THE COURT:   We'll have to defer that for now.       We'll

19   come back to it later.

20               MR. KAMARAJU:   Okay, I'll move on.

21   Q.   I'd like to show you what's been marked as Government

22   Exhibit 211-T for identification.        Do you recognize this

23   exhibit?

24   A.   I do, sir.

25   Q.   What is it?


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1    A.   That's a transcription of a telephone conversation.

2    Q.   Did you participate in this conversation?

3    A.   Yes, sir.

4    Q.   Do you remember the call?

5    A.   I do remember, sir.

6    Q.   Have you listened to a recording of the conversation?

7    A.   Yes, I did, sir.

8              MS. FLEMING:    No objection, subject to connection and

9    authentication.

10             THE COURT:    I'll allow it.

11             MR. KAMARAJU:    The government offers Government

12   Exhibit 211-T and ask to publish it beginning at page two.

13             THE COURT:    Okay.

14             (Government's Exhibit 211-T received in evidence)

15   Q.   So, look down I think at the bottom of the page where it

16   starts to run to the next one.      Do you see where -- I don't

17   think I asked you because the exhibit came in.

18             Who is this call with?

19   A.   Between Levent Balkan and myself.

20   Q.   So do you see near the bottom of the page where Balkan says

21   "Now this we received a sum of money from HSBC," and it

22   continues onto the next page.      "One and 800 dollars."

23   A.   Yes, I see that, yes.

24   Q.   Then do you see where he goes on to say "It was received at

25   Safir from your personal account."


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1    A.   Yes, sir.

2    Q.   What did you understand Balkan to be saying there?

3    A.   I had sent $1.8 million from my personal account in HSBC

4    bank to the Safir company account.

5    Q.   Did that transfer have anything to do with the Iranian

6    business?

7    A.   No, definitely not.

8              MS. FLEMING:    Objection.    Relevance.

9    Q.   Do you see where Balkan says about midway down through the

10   page "Okay, can we think strategically here briefly."

11   A.   Yes, sir.

12   Q.   What did you understand him to mean there?

13   A.   He says we have to think about this transaction from a

14   strategic point of view.

15   Q.   Do you see where he goes on to say "I mean, I'm talking

16   about, one, American bank, two, dollars, three, Safir, I mean,

17   many factors all bundled up here."

18   A.   Yes, sir.   I see that.

19   Q.   What did you understand him to be saying?

20   A.   Mr. Levent Balkan in this telephone conversation is

21   indicating that $1.8 million payment, when it was sent from

22   HSBC to Halkbank, because it has to be cleared over the United

23   States, the sender is Safir on one side, and the company Safir

24   is a company who trades with the Iran.        He sees that as a

25   threat to the system that is working within the Halkbank, and


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1    he thinks that it may harm the system that's going on in

2    Halkbank.

3    Q.   How do you respond?

4    A.   I'm asking will there be a problem.       I'm trying to

5    understand the problem.

6    Q.   Can we turn to page -- do you see a little further down

7    where Balkan says "The balance, the balance is not important.

8    What's more important is security."

9    A.   Yes, sir.

10   Q.   What did you understand him to mean there?

11   A.   There was a holiday in Turkey at that period of time, I

12   wanted this $1.8 million to stay in Halkbank.         And Mr. Levent

13   Balkan is indicating that the moneys, that $1.8 million staying

14   in their bank is not important.       The more important thing for

15   the longevity of the system that's in progress should be able

16   to keep on going.    It shouldn't be in any way risked.        And that

17   system is the gold trade which I had drawn out the schematics

18   for.

19             MR. KAMARAJU:    We can take that down.

20   Q.   Did you ever come to learn that the U.S. sanctions

21   concerning gold trading were going to change?

22   A.   Yes, I did.

23   Q.   Do you remember approximately when you learned that?

24   A.   In the beginnings of 2013.

25   Q.   Were you informed of those changes by anyone?


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1    A.   Yes.

2    Q.   How were you initially informed of those changes?

3    A.   Mr. Suleyman Aslan came into contact with me and explained

4    to me that there will be changes in the sanctions -- in the

5    sanctions regulations regarding gold.

6    Q.   I'd like to show you what's been marked for identification

7    as Government Exhibit 1002.      If we can also bring up 1002-T

8    which has been admitted subject to connection.

9                Do you recognize Government Exhibit 1002?

10   A.   Yes, I do, sir.

11   Q.   What is it?

12   A.   WhatsApp messages between myself and Suleyman Aslan.

13   Q.   What did you use WhatsApp to communicate with Suleyman

14   Aslan about?

15               THE COURT:   As reflected in this exhibit or just

16   generally?

17               MR. KAMARAJU:   I mean generally.

18   A.   Generally, we were writing on WhatsApp the sensitive

19   subjects, the private subjects, and important subjects.

20   Q.   Whose idea was it to use WhatsApp to communicate about

21   those things?

22   A.   I don't recall whose idea originally it was, but we were

23   just writing to each other.

24   Q.   Does Government Exhibit 1002 reflect your WhatsApp

25   communication with Suleyman Aslan?


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1    A.    Yes, sir.

2    Q.    Do you recognize communications that you had via WhatsApp

3    on Government Exhibit 1002?

4    A.    Yes, sir.

5               MR. KAMARAJU:    Your Honor, the government would offer

6    Government Exhibit 1002 subject to connection and ask to

7    publish it and Government Exhibit 1002-2.

8               MS. FLEMING:    Your Honor, this is -- may I be heard on

9    it?

10              THE COURT:   Why don't you approach for a minute.

11              (Continued on next page)

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1               (At the sidebar)

2               MS. FLEMING:   I have 1002-T.    This is a condensed

3    version.    The real WhatsApp of these guys is many stacks and

4    many thousands of calls.      This is, you know, a quarter of an

5    inch.

6               THE COURT:   Okay.

7               MS. FLEMING:   It looks like a continuous, it is not

8    the form that it's in.     It is not the real way it should be

9    done.

10              THE COURT:   Okay.

11              MS. FLEMING:   So, one of our points on opening was

12   that there are thousands and thousands of e-mails and all the

13   rest of it.      This is not the way it's done, and this isn't the

14   way.

15              THE COURT:   I don't know what you're saying.       I really

16   don't.

17              MS. FLEMING:   This is not the way that the -- this

18   makes it a much more sort of evil document, if I can put it

19   that way.    It really emphasizes.

20              THE COURT:   On cross-examination you would bring that

21   out.    Right?

22              MS. FLEMING:   No.

23              THE COURT:   You're not denying the documents, are you?

24              MS. FLEMING:   No, but this is not the way the document

25   exists.    They've changed the document.


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1               THE COURT:   But you'll point that out.      You mean

2    they're not continuous?

3               MS. FLEMING:    Right, they're not continuous.      They've

4    deleted things and they have changed the document.         This isn't

5    how it exists.    What they've done is they've condensed it.

6    They've taken out all the in between.

7               MR. KAMARAJU:    No, we didn't.    Your Honor, that's a

8    forensic report that was obtained during the Turkish

9    investigation.    We're going to have a witness who will testify

10   to that.

11              THE COURT:   Okay.

12              MR. KAMARAJU:    Just a totally separate point, would it

13   be possible to give the witness just a comfort bathroom break?

14              THE COURT:   Sure.

15              We're going to take a five-minute break.

16              But wait.    Stay here.

17              (Jury excused)

18              MS. FLEMING:    These look very different from what we

19   have.

20              THE COURT:   You can talk about it later.

21              MS. FLEMING:    All right.

22              THE COURT:   I'm having a little trouble understanding

23   where the focus is going.       So I think I've been generous in

24   allowing you background, there is a lot of background.          It is

25   about the sanctions, etc., etc.       But, ultimately this case --


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1    and not even ultimately.     Initially is about Mr. Atilla.          So,

2    you're not saying much now about Mr. Atilla that I'm gathering.

3              MR. KAMARAJU:    So --

4              THE COURT:    He's charged in six counts.

5              MR. KAMARAJU:    I understand, your Honor.      Now, to be

6    clear, one of those counts is a money laundering count based on

7    one thing, foreign bribery.

8              THE COURT:    I get that.

9              MR. KAMARAJU:    But we are turning, there is a pivotal

10   change and we opened on it in the sanctions law that we are

11   exploring right now.

12             THE COURT:    And the point being?

13             MR. KAMARAJU:    And Mr. Atilla's role in that is to, as

14   alleged, is to digest that change, digest the sanctions, figure

15   out the loopholes and then convey them to the other members of

16   the co-conspirators to say, hey, this document that you've got

17   doesn't look right.     Right.   It's got mistaken information

18   that's going to draw scrutiny.

19             In order to explain why that's important, why we have

20   to talk about what the sanctions are, and sort of the -- we are

21   turning now into that period where he is making those

22   communications.    But we have to be able to explain why it went

23   from gold and it is ultimately going to switch to commodities.

24   Those are the two loopholes in the sanctions that they take

25   advantage of.


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1              THE COURT:    Why don't we just ask.

2              MR. KAMARAJU:    Ask?

3              THE COURT:    What were the changes.

4              MR. KAMARAJU:    We can.    But I don't think --

5    Mr. Zarrab can testify to his understanding of the changes

6    but --

7              THE COURT:    Who is going to do that?

8              MR. KAMARAJU:    To the changes?

9              THE COURT:    Yes.

10             MR. KAMARAJU:    I think they've already been -- they're

11   already in evidence.

12             THE COURT:    But that's what I'm trying to understand.

13   What are you doing?

14             MR. KAMARAJU:    I'm trying to show Halkbank's

15   instructing Zarrab or directing him as to what the changes are.

16   Because that's ultimately what the charges are.

17             THE COURT:    Through these documents?

18             MR. KAMARAJU:    I'll give you an example.

19             MS. FLEMING:    What we have, Judge, is him saying what

20   the understanding of other people saying things are.

21             THE COURT:    I got it.

22             MR. KAMARAJU:    These documents, for example, include,

23   from Suleyman Aslan, they include statements like the gold is

24   going to change.    Here you go.

25             THE COURT:    So --


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1              MR. KAMARAJU:    That's what I'm going to get to.

2              THE COURT:    You're going to get to one particular

3    thing that involves --

4              MR. KAMARAJU:    I was going to point to particular

5    ones.

6              THE COURT:    Okay.

7              MR. KAMARAJU:    And then there are calls that interact

8    with this document, so I was going to go through those.          Those

9    involve -- Mr. Atilla is part of those calls.         He's not part of

10   all of them.

11             THE COURT:    The sooner you get back to Mr. Atilla, the

12   better we'll all be.

13             MR. KAMARAJU:    I understand.    We have to prove the

14   conspiracy.    That's our challenge.     We have to prove all the

15   elements.

16             THE COURT:    You have to prove he's in it.

17             MR. KAMARAJU:    Of course.    We're very mindful we have

18   to tie him to the conspiracy.

19             THE COURT:    It seems we're drifting a little bit.

20             MR. KAMARAJU:    Over the break I'll try to trim it down

21   also.

22             THE COURT:    Okay.

23             (Recess)

24             (Jury present)

25             THE COURT:    We'll continue with direct examination.


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     HBU3ATI5                   Zarrab - Direct

1    Go ahead, counsel.

2               MR. KAMARAJU:    Thank you, your Honor.

3    BY MR. KAMARAJU:

4    Q.   I'm showing you what's been marked as Government Exhibit

5    226-A.

6               MR. KAMARAJU:    Your Honor, may I approach?

7               THE COURT:   Yes.

8    Q.   Do you recognize that?

9    A.   Yes, sir.

10   Q.   What is it?

11   A.   CD.

12   Q.   Do you know what's on that CD?

13   A.   Yes, it is a transcription of a phone conversation and the

14   audio file.

15   Q.   How do you recognize it?

16   A.   Because I listened to it and then I initialed it.

17   Q.   Who is the audio conversation with?

18   A.   It's between myself and Mr. Hakan Atilla.

19   Q.   Generally speaking, do you recall the subject matter of the

20   conversation?

21   A.   It's about trade with Iran.

22              MR. KAMARAJU:    Your Honor, the government would ask to

23   admit Government Exhibit 226-A.

24              THE COURT:   I'll allow it, hearing no objection.

25              MS. FLEMING:    Subject to authentication, your Honor.


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1              (Government's Exhibit 226-A received in evidence)

2              MR. KAMARAJU:    Can we publish it?     It is an audio

3    recording, your Honor.

4              THE COURT:    Okay.

5              (Audio recording playing)

6    Q.   I'd like to show you for identification what's been marked

7    as Government Exhibit 226-T.

8    A.   Please.   There is nothing on the screen.       It's up now.

9    Q.   Page two.   Do you recognize this document?

10             MS. FLEMING:    No objection, subject to authentication.

11             THE COURT:    Okay.   We'll allow it.    But do you

12   recognize it?

13             THE WITNESS:    Yes, sir.

14             MR. KAMARAJU:    The government would offer Government

15   Exhibit 226-T and ask to publish it to the jury.

16             THE COURT:    Okay.

17             (Government's Exhibit 226-T received in evidence)

18   Q.   Who is on this call?

19             THE COURT:    I'm sorry.    The question was who was in

20   the call we just heard?

21             MR. KAMARAJU:    Yes.

22   A.   It's me, Ms. Muge, the secretary at Halkbank who transfers

23   the call, and Mr. Hakan Atilla.       It is a telephone

24   transcription amongst us, the call from amongst us.

25             THE COURT:    So you mean between you and Mr. Atilla?


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     HBU3ATI5                   Zarrab - Direct

1    Is that what you're saying?

2              THE WITNESS:    Yes, your Honor.

3              THE COURT:    Okay.    Go ahead.

4              MR. KAMARAJU:    Okay.

5    Q.   Do you see where Atilla says "Um, for the pending items,

6    partnership structure didn't have an official document ID or

7    registration or anything.       That's why they cannot use it in the

8    transaction."

9    A.   Yes, sir.

10   Q.   What did you understand him to be saying there?

11   A.   That the amounts being sent from Iran, and the partnership

12   structure documents pertaining to the companies who are sending

13   these amounts --

14             THE COURT:    Is what?

15             THE INTERPRETER:      Partnership structure documents

16   pertaining to these companies who are sending these amounts.

17   A.   -- would have to be submitted to Halkbank.

18             MS. FLEMING:    Your Honor, translation issue.       It is

19   "shareholder agreement."

20             THE COURT:    Sit.    Please.   Go ahead.

21   Q.   What is your understanding of the document that he's

22   referring to?

23   A.   It is a document that would show the partnership structure

24   of the companies in Iran who are sending money to Safir and

25   Royal.


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1    Q.   Would the document disclose the Iranian ownership of the

2    company?

3    A.   Yes, sir.

4    Q.   How would it get sent to the bank?

5               THE COURT:   What?

6    Q.   How would it get sent to the bank?

7    A.   It would be translated, it would receive an apostille in

8    Iran, it would be endorsed, approved, and the original as well

9    as an e-mail would be forwarded to the bank.

10   Q.   Were you ever told why the bank needed this kind of

11   document?

12   A.   Certainly.

13   Q.   What were you told?

14   A.   After a while, regarding the gold trade, there was some

15   changes made in the United States sanctions and regulations.

16   The companies that were sending moneys and appear to be buyers

17   of gold, these companies could not have anybody or any agency

18   that would be associated or affiliated with the government over

19   there in Iran.

20              However, I'd like to underline this.       That in response

21   to the money that was coming in, gold was never sent to Iran.

22              MS. FLEMING:   Move to strike as non-responsive.

23              THE COURT:   I'll allow it.

24   Q.   Now, why were you dealing with Hakan Atilla on this issue?

25   A.   During time periods where transactions may be hanging or


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1    money transfers may be delayed, there were times that we would

2    either reach out to Mr. Hakan Atilla or there were times that

3    he might reach out to us.

4    Q.   Why would you reach out to Hakan Atilla?

5    A.   Because the person in charge of the part that would pertain

6    to where our money was getting stuck, where our money was

7    getting delayed, was Mr. Hakan Atilla.

8    Q.   I'd like to show you what's been marked as --

9              THE COURT:    Before you do, I'd like to more fully

10   understand this call.     Did you call him or did he call you?

11             THE WITNESS:    Based on what could be understood from

12   listening to the audio of this call, it appears that they had

13   called me, sir.

14             THE COURT:    And they called you for what purpose?

15             THE WITNESS:    In order to inform me, your Honor, what

16   was holding up the pending or the missing money and what

17   document was needed.

18             THE COURT:    But in the call, he asks you for some

19   documentation; is that the purpose of this call?

20             THE WITNESS:    Yes, your Honor.

21             THE COURT:    Do you say you are going to find it for

22   him or get it for him?

23             THE WITNESS:    Yes, your Honor.

24             THE COURT:    And that information is what exactly?        Is

25   that in the highlighted box on the screen in yellow?


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     HBU3ATI5                   Zarrab - Direct

1              THE WITNESS:    This is the official document that would

2    need to be sent with regard to the company that had sent the

3    money from Iran, and it would need to be translated and

4    certified.   It would be an official document, your Honor.

5              THE COURT:    Okay.   Is that what he's asking for?

6              THE WITNESS:    Yes, your Honor.

7              THE COURT:    Okay.

8    BY MR. KAMARAJU:

9    Q.   I'd like to show you what has been previously admitted as

10   Government Exhibit 1000-2 and 1000 -- sorry.         1002 and

11   Government Exhibit 1002-T.

12             THE COURT:    Is this the document you were looking at

13   before?

14             MR. KAMARAJU:    Yes, your Honor.     It may be easier --

15   that's fine.

16             Mr. Chang-Frieden, can you turn to page seven on

17   Exhibit 1002-T.    And can you turn to page six on 1002.

18             Your Honor, the pages are slightly off because of the

19   translation.

20   Q.   Mr. Zarrab, do you see a message with a time stamp

21   05.02.2013, 21:00:21?

22   A.   If you can zoom in a little bit, please.

23   Q.   Do you see that message?

24   A.   Yes, sir.

25   Q.   Who is it from?


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     HBU3ATI5                   Zarrab - Direct

1    A.   This is from Mr. Suleyman Aslan.

2              MR. KAMARAJU:    Is there a way, Mr. Chang-Frieden, to

3    blow up the same message on 1002-T?

4              THE COURT:    That's the translation?

5              MR. KAMARAJU:    Yes.

6    Q.   Do you see where Aslan says "There are a couple of subjects

7    which we have to talk with you."

8    A.   Yes, I see that, sir.

9    Q.   Then the next message, do you see where it says "Famous

10   date of February 6 has arrived.       Oil income cannot be used for

11   the trade of valuable metals."

12   A.   Yes, sir, I see that.

13   Q.   What did you understand him to mean there?

14   A.   Mr. Suleyman Aslan, the general manager of Halkbank, he is

15   telling me that the February 6 date arrived and that we would

16   not be able to get money out of Halkbank through gold trading

17   any longer.

18             (Continued on next page)

19

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     HBUPATI6                   Zarrab - Direct

1    Q.   And not the next message, but the message after that, do

2    you see where he says:     "There's a huge demand in food,

3    medicine and similar commodities"?

4    A.   Yes, sir.

5    Q.   Now, Mr. Zarrab, other than your tea business, had you ever

6    traded food before?

7    A.   I had sent sesame from Dubai to Turkey a few times.

8    Q.   Were you a medicine trader?

9    A.   No, sir.

10   Q.   And had you ever done any food trade through Halkbank

11   before this time?

12   A.   No, sir.    I never conducted food trade with Iran in the

13   past.

14   Q.   So what's your understanding of why Suleyman Aslan was

15   telling you about the demand for food and medicine?

16   A.   He is recommending and advising us that we would not be

17   able to move the existing oil money of Iran that's in Halkbank,

18   we won't be able to move it out through gold trade anymore and

19   that we would now need to do food and medicine trade to be able

20   to do so.    In other words, he's giving us direction regarding

21   this matter.

22   Q.   Okay.   And do you see where you ask:      "I'm ready for your

23   visit whenever you want.     When does the precious metal ban

24   thing start"?

25   A.   Yes, sir.    I see that.


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     HBUPATI6                   Zarrab - Direct

1    Q.   Does he tell you when it starts?

2    A.   He doesn't say it in this particular message, but in

3    another message that will come, he will say that.

4    Q.   And what does he tell you?

5    A.   If I can please see that on the screen.       *"Right now, it's

6    not stopped.     There is time until the beginning of July, but

7    the amount is limited.     We can only channelize the oil money to

8    food and medicine."

9              So he's saying that you won't be able to do this

10   through gold until the beginning of July, that there's time

11   until after the beginning of July, but that we would be able to

12   use the limited funds through food and medicine trade.

13   Q.   And you see at the very bottom where you say:        "Hopefully,

14   we will create solutions for all of those"?

15   A.   Translate the Turkish version of it.       Yes, sir.

16   Q.   Did you ever meet with Suleyman Aslan to discuss switching

17   to the food trade?

18   A.   Yes, sir.

19   Q.   Approximately when was that first?

20   A.   It was about this time.     It would be just soon after this.

21   In other words, within a month or so after this.

22   Q.   And what did you discuss with Aslan at that meeting?

23   A.   We talked about how we would be able to get money out of

24   Halkbank through the food trade.       We talked about that method

25   and that system.


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     HBUPATI6                   Zarrab - Direct

1    Q.   I'd like to show you what's marked as Government

2    Exhibit 291-T.     Do you recognize this document?

3    A.   Yes, sir.

4    Q.   What is it?

5    A.   Transcription of a phone conversation.

6    Q.   Do you remember this call?

7    A.   I remember, sir.

8    Q.   Did you participate in it?

9    A.   Yes, sir.

10   Q.   Have you listened to a recording of this call?

11   A.   I listened to it, sir.

12   Q.   And did the recording accurately capture your conversation?

13   A.   Yes, sir.

14   Q.   And who are you speaking with during this call?

15   A.   With Abdullah Happani, sir.

16   Q.   And approximately when was this call?

17   A.   After I had left the meeting that I had with Mr. Suleyman.

18             MR. KAMARAJU:    The government would offer Government

19   Exhibit 291-T.

20             MS. FLEMING:    No objection subject to authentication

21   and connection.

22             THE COURT:    I'll allow it.

23             (Government's Exhibit 291-T received in evidence)

24             MR. KAMARAJU:    And I'll ask to publish it beginning on

25   page 2 initially.


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     HBUPATI6                   Zarrab - Direct

1    BY MR. KAMARAJU:

2    Q.   Do you see at the top, where Happani asks:        "Did you go to

3    the meeting"?

4    A.   Yes, sir.

5    Q.   What did you understand him to be asking you there?

6    A.   He's asking me if I had gone to the meeting with Suleyman

7    Aslan, or if I had this conversation with him.

8    Q.   And what do you tell him?

9    A.   I say, yes, I left.    I met and I left.

10   Q.   Do you see where the transcript says:       "He/she says, 'Do

11   some food'"?

12   A.   Yes, sir, I see that.

13   Q.   Okay.   What are you referring to there?

14   A.   I'm conveying to Mr. Abdullah that Mr. Suleyman is telling

15   us that we need to do some food in addition to the gold trade.

16   Q.   And do you see where you say:      "They will stop the gold in

17   a month and a half"?

18   A.   I see it, sir.

19   Q.   What did you understand that -- what were you saying there?

20   A.   I am saying that the diagram that I had drawn before, that

21   system, we will not be able to use that system to be able to

22   get money out of Halkbank anymore.       In other words, we will not

23   be able to use gold trade to remove money out of Halkbank from

24   that point forward.

25   Q.   So what were you going to have to do?


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1    A.   Would need to find a new method and a new system.

2    Q.   And do you see where you say --

3              THE COURT:    As of what date, do you remember?

4              THE WITNESS:    Approximately the fourth month.

5              THE COURT:    In 2000 and --

6              THE WITNESS:    2013, your Honor.

7    BY MR. KAMARAJU:

8    Q.   Okay.   Do you see where you say it says:       "Do food.   He/she

9    says, 'If nothing else, I'll extend it for two three months.'

10   He/she keeps saying 'do food'"?

11   A.   Yes, sir, I see that.

12   Q.   What did you mean there?

13   A.   Mr. Suleyman is telling me that we need to go towards food

14   because once the United States says you cannot remove money

15   through gold trade, through the sanctions, we will not be able

16   to do that, and that we would need to go towards another trade.

17   Suleyman is advising me on that.

18             The most that he could do is to extend the period

19   where the gold trade could still be conducted for a few months.

20   And for that reason, he is advising that we need to move

21   towards food and that the gold was not a permanent solution any

22   longer.

23   Q.   Do you see where he asks you:      So we do not have to send it

24   from Turkey?

25   A.   Yes, sir.


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1    Q.   What's your understanding of why -- what he meant there?

2    A.   So during this part of the phone conversation, Abdullah

3    Happani gets confused because Abdullah Happani is used to the

4    gold trade and the gold method.       We send gold to Dubai and

5    convert it into cash.     He doesn't understand how we would do

6    this through food.

7    Q.   And why doesn't he understand?

8    A.   Because in order to make the international payments for

9    Iranians, you need to get money out of Halkbank and need to

10   convert it into cash and make international payments with that.

11   With gold, you can take one ton or five tons of gold per day

12   and convert it into cash.      But this is not possible through

13   food products because there's no actual trade involved.

14   Q.   What do you mean, there's no actual trade?

15   A.   Well, gold is just the tool or an accessory in terms of

16   Iran being able to make their international payments.          Since he

17   thinks that food would not be compatible with that, that's why

18   he gets confused.

19   Q.   Could we turn to Page 3.     And do you see where -- the next

20   page.    Do you see where you say:     "It's not a big deal.     He/she

21   says, 'Provide it, how you provide it is not a problem; provide

22   it.'    He/she says 'Provide cikina.'     He/she says 'Have him/her

23   send cikina, it's not a problem'"?

24   A.   Yes, I see that.

25   Q.   What did you mean by that?


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1    A.   Since Abdullah could not understand this on the phone, I'm

2    trying to explain it to him.      I'm telling Abdullah that no real

3    food would be sent.     I'm telling him that the man is telling us

4    to submit fake documents.      That's what I'm saying.     That's what

5    I am referring to.

6    Q.   I'd like to show you what's been marked for identification

7    as Government Exhibit 236-T.      Do you recognize the exhibit?

8    A.   Yes, sir.

9    Q.   What is it?

10   A.   Transcription of a phone conversation.

11   Q.   Do you remember the call?

12   A.   Yes, I remember, sir.

13   Q.   Did you participate in the call?

14   A.   Yes, sir.

15   Q.   Did you listen to a recording of this call?

16   A.   I listened to it, sir.

17   Q.   Did the recording accurately capture your conversation?

18   A.   It reflected so, sir.

19   Q.   And who participated in the call?

20   A.   It's Abdullah Happani and myself, sir.

21             MR. KAMARAJU:    Your Honor, the government is going to

22   offer Government Exhibit 236-T.

23             MS. FLEMING:    No objection, subject to authentication

24   and connection.

25             THE COURT:    I'll allow it.


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1               (Government's Exhibit 236-T received in evidence)

2               MR. KAMARAJU:   And could we publish that?

3               THE COURT:   Yes.

4               MR. KAMARAJU:   Starting on page 2.

5    BY MR. KAMARAJU:

6    Q.   Do you see at the top there where you say:        "Okay, all

7    right, brother.    Thank you.    Abdullah, I just left Halk.

8    He/she says, 'Get started on that food'"?

9    A.   Yes, sir.

10   Q.   And what did you understand it -- withdrawn.

11              What did you mean by that?

12   A.   What I mean here is that I had left the meeting at Halkbank

13   again, and Halkbank had told me that we need to start food

14   again.    Halk is saying start on food; so I'm telling him that

15   we're being told that we need to start on food.

16   Q.   Okay.   Now, can we go to Page 3.     Do you see where Happani

17   says:    "In fact, let's let started right away through Volgam,

18   if you like"?

19   A.   I see it, sir.

20   Q.   What is Volgam?

21   A.   Volgam is also another company that is owned by me, and

22   it's a company that we use under the umbrella of Royal.

23   Q.   Okay.   I'd like to show you Government Exhibit 1002-T and

24   1002 again, I believe page 13 on both exhibits.         If we can just

25   blow up communication 09.04.2013, at the top of the screen,


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1    8:40:55.     We'll just be here very briefly, but Mr. Zarrab, what

2    are we looking at here?

3    A.   This is messages on WhatsApp between myself and Suleyman

4    Aslan, sir.

5    Q.   And who sent this message?

6    A.   I'm the sender, sir.

7    Q.   And what did you say to Suleyman Aslan?

8    A.   I say:    "My dear general manager, I started food today."

9    In other words, I'm saying the food trade has started.

10   Q.   Now, had you actually shipped any food through Halkbank by

11   April 9, 2013?

12   A.   No.

13   Q.   Okay.    Could we turn to page 14 at of 1002-T and blow up

14   the message at 11:47:27 on April 9th?

15   A.   Yes, sir.

16              MR. KAMARAJU:   Your Honor, may I approach?

17              THE COURT:   Yes.

18   Q.   I'm showing you what's been marked for identification as

19   Government Exhibit 295-A.      Do you recognize that?

20   A.   Yes, sir.

21   Q.   What is it?

22   A.   This is a CD containing a phone conversation in transcript

23   and audio form.

24   Q.   And how do you recognize the CD?

25   A.   I listened to the CD, and I had my initials on it, sir.


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1    Q.   And what is it an audio recording of?

2    A.   It's a phone conversation that takes place between myself

3    and Hakan Atilla, sir.

4    Q.   And can we bring up on the screen Government Exhibit 295-T,

5    and turn to the second page.

6              Mr. Zarrab, do you recognize Government Exhibit 295-T?

7    A.   Yes, sir.   I recognize it.

8    Q.   What is it?

9    A.   It's a phone conversation that takes place between myself

10   and Mr. Hakan Atilla.

11   Q.   Is it a transcript of the conversation that occurs on

12   295-A?

13   A.   Yes, sir.

14             MR. KAMARAJU:    Your Honor, the government would offer

15   Government Exhibits 295- --

16             THE COURT:    Do you want to play it?

17             MR. KAMARAJU:    Sure.   I was going to play it right

18   after.   Can we --

19             THE COURT:    Well, play it now.

20             MR. KAMARAJU:    Okay.   I just thought we should admit

21   it first, but I'm happy to play it.

22             THE COURT:    Okay.   Sure.

23             MS. FLEMING:    Subject to authentication and

24   connection.

25             THE COURT:    Yes, right, right.


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1              MR. KAMARAJU:    I don't know how -- well, I'd also

2    offer Government Exhibit 295-T.

3              THE COURT:    Okay.

4              MS. FLEMING:    Same objection.

5              (Government's Exhibits 295-A and 295-T received in

6    evidence)

7              MR. KAMARAJU:    Mr. Chang-Frieden, can we play

8    Government Exhibit 295-A.

9              (Audiotape being played)

10             MR. KAMARAJU:    We can pause that.     I was going to

11   refer to the transcript, your Honor, but I'm happy to continue

12   playing the call.

13             THE COURT:    If you have a whole transcript, you need

14   the whole phone conversation.

15             MR. KAMARAJU:    That's fine.    Continue the call.

16             (Audiotape being played)

17   BY MR. KAMARAJU:

18   Q.   Okay.   Now, Mr. Zarrab, who were you speaking with?

19   A.   Mr. Hakan Atilla.

20   Q.   Do you remember when this call was?

21   A.   It should be approximately the fourth month.

22   Q.   Of what year?

23   A.   The fourth month.    I'm not sure that I remember the date

24   correctly.    It could be a fourth, fifth or the sixth month, but

25   it should be the fourth month.


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     HBUPATI6                   Zarrab - Direct

1    Q.   And what was the general subject matter of the call?

2    A.   This is a phone conversation related to the food trade

3    brokering business that I had discussed with Mr. Suleyman

4    Aslan.

5    Q.   And why are you speaking about it with Mr. Atilla?

6    A.   I don't recall exactly, and it could be that Mr. Atilla had

7    called me at the direction of the branch perhaps, but that's

8    why -- or perhaps I called Mr. Atilla and this could be at the

9    direction of the branch.

10   Q.   Do you see on the second page --

11               MR. KAMARAJU:   Oh, your Honor, I can't remember if I

12   admitted the government exhibit.

13               THE COURT:   I think you did.

14               MR. KAMARAJU:   Okay.

15               THE COURT:   But we'll admit it.

16   BY MR. KAMARAJU:

17   Q.   Do you see on the second page where you say:        "The other

18   day our dear general manager and I came to a mutual agreement

19   about a matter.    We are starting the food transactions"?

20   A.   Yes.

21   Q.   And you see, what is Atilla's response?

22   A.   He says, yes, I have knowledge of this matter.

23   Q.   And you refer to -- you see an amount for testing purposes

24   has come to Royal?

25   A.   Yes.


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1    Q.   What did you mean by that?

2    A.   There was a payment that had come to Royal, but the money

3    had not been deposited into the account yet, just as it would

4    be waiting in the times of gold trade.        And in previous times

5    when the money would be delayed at Halkbank, I would be talking

6    to Mr. Atilla.    And here, to Mr. Hakan Atilla, I'm stating the

7    same to Mr. Atilla.     I'm saying that the payment had been

8    received by Royal and that the workers at the bank, those

9    individuals at the bank, are asking for the documentation for

10   the food trade, but based on my conversation with Mr. Suleyman,

11   we were supposed to submit these documents to the bank after

12   three or four days.

13   Q.   Do you see where you say that "Food is a little different

14   than gold"?

15   A.   Yes, I see that.

16   Q.   What were you saying there?

17   A.   Now, Mr. Hakan knew, based on my -- Mr. Hakan knew --

18   Mr. Hakan was aware, based on the result of my meeting with

19   Mr. Suleyman, that the food trade would be started.          However,

20   I'm trying to explain to Mr. Hakan Atilla that this food trade

21   would be different than the gold trade.

22   Q.   And why would it be different?

23   A.   Because with the gold, there is export of goods out of

24   Turkey, but with the food, it was going to look as if it was

25   being sent in as a transit from Dubai over to Iran.


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     HBUPATI6                   Zarrab - Direct

1    Q.   And what did Atilla ask you in response?

2    A.   He says can it be done through a letter of credit?         Why

3    payment upfront?

4    Q.   What did you understand him to be asking you there?

5    A.   Can you repeat the question, please.

6    Q.   Sure.   What did you understand him to be saying there?

7    A.   As of this whole conversation, Mr. Hakan Atilla was aware

8    that we were going to be involved and we were going to be

9    conducting food trade, that is as of that day.         However, at

10   this time, Mr. Hakan Atilla did not know that this transaction

11   would not involve actual trade.       So Mr. Hakan Atilla is trying

12   to understand this during this phone conversation.

13   Q.   Now, do you see where, turning to that same page, you say:

14   "The credit -- doing the letter of credit would add time.            I

15   mean, it would cause a delay in my procedure"?

16   A.   Yes, sir.

17   Q.   What did you mean by that?

18   A.   Since there would be no actual goods being sent, there was

19   no way that we could have done this through a letter of credit

20   anyway.

21   Q.   Now, could you turn to page 3, and do you see where Atilla

22   says:   "Let me look into that, Mr. Reza.       I mean, this

23   structure is not what I thought, to be honest"?

24             THE INTERPRETER:     Which part is that?

25   Q.   Do I have the wrong page?     I'll check one thing.      On this


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1    page, my apologies, do you see where it says:         "Let me look

2    into that, Mr. Reza.     I mean, the structure is not what I had

3    thought, to be honest"?

4    A.   Yes, I see that, sir.

5    Q.   What did you understand him to mean there?

6    A.   Mr. Hakan Atilla had understood, through his general

7    manager or perhaps through the branch, that there would be real

8    food trade, and now he's saying in this phone call that this is

9    not as I had thought.     So he's clearly stating that this does

10   not match up with what he had heard.

11   Q.   What did you do after this phone call?

12   A.   Then I had a conversation with Mr. Suleyman Aslan.

13   Q.   Where was that conversation?

14   A.   It was at the bank.

15   Q.   When did that conversation happen?

16   A.   Possibly on the same day.

17   Q.   What did you talk about with Aslan during that meeting?

18   A.   I went and I told Mr. Suleyman that I had talked to

19   Mr. Hakan and that Mr. Hakan did not understand the matter

20   completely, and I asked him how we should go about it.

21   Q.   And how did he respond?

22   A.   Could you repeat the question, please?

23   Q.   How did he respond?

24   A.   The best I remember is that he gave orders to unblock the

25   transaction and to go ahead and carry it out.


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1    Q.   And do you remember who he gave those orders to?

2    A.   To Mr. Hakan Atilla.

3              MS. FLEMING:    Can we get a foundation for that, Judge?

4              THE COURT:    Keep going.

5    Q.   How do you know that that's who he gave the orders to?

6    A.   Because he called in my presence as he gave these

7    instructions.

8              THE COURT:    Who did?   Who called?

9              THE WITNESS:    Mr. Suleyman Aslan, your Honor.

10             THE COURT:    And he called who?

11             THE WITNESS:    Mr. Hakan Atilla, your Honor.

12             THE COURT:    And you were on the call, or you heard the

13   call?

14             THE WITNESS:    I was face to face with Suleyman Aslan

15   during a meeting at this time, sir.

16   BY MR. KAMARAJU:

17   Q.   Could you please bring up Government Exhibit 297-T.         Do you

18   recognize this?

19   A.   If I may look at it real quick, please.

20             (Pause)

21             Yes, sir.

22   Q.   Do you recognize this?     What is it?

23   A.   I recognize it, sir.    It's a transcription of a phone

24   conversation.

25   Q.   Did you participate in the call?


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1    A.   Yes, sir.

2    Q.   Do you remember the call?

3    A.   I remember, sir.

4    Q.   Who participated in the call?

5    A.   It was Abdullah --

6              THE INTERPRETER:     It's cutting out, sorry.

7    A.   It was Abdullah Happani and myself.

8    Q.   What was the purpose of the call?

9    A.   I was informing Abdullah Happani following my meeting with

10   Mr. Suleyman Aslan, sir.

11             MR. KAMARAJU:    The government offers Government

12   Exhibit 297-T.

13             MS. FLEMING:    Subject to connection and

14   authentication.

15             THE COURT:    I'll allow it.

16             (Government's Exhibit 297-T received in evidence)

17             MR. KAMARAJU:    And could we publish that, beginning at

18   page 2, please.

19   BY MR. KAMARAJU:

20   Q.   Now, do you see where you say:      "I am resolving that thing,

21   the matter about closing."      It's a little bit down the page.

22   A.   Yes, sir.

23   Q.   What did you mean there?

24   A.   I had discussed with Suleyman Aslan the matter of closing

25   down Ahmet Alacaci's account.


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1    Q.   And remind us who is Ahmet Alacaci?

2    A.   Ahmet Alacaci is a friend of Turker Sargin, who is in my

3    company and who is the individual who had told me that a gold

4    trade might be possible.

5    Q.   At this time, was he one of your competitors?

6    A.   Yes.   Initially, I was using his companies and, later on,

7    he began to do his own trade with Iran.

8    Q.   And why were you asking Aslan to close his account?

9    A.   Because Ahmet Alacaci knew that I was giving a share of the

10   profit to Zafer Caglayan, and he knew that our costs, my costs,

11   were higher than his, and since he wasn't making any payments

12   to anybody and the share of Zafer Caglayan, he was putting a

13   price out there in the market that was much lower than ours.

14   Because of that, I had discussed this with Mr. Suleyman Aslan,

15   and I'm talking about that here.

16   Q.   Could you turn to the next page of the exhibit.         Actually,

17   could we keep going?      Okay.   Stop there.

18               Okay.    Do you see where you say:   "My dear, we will do

19   that anyway."       It's about in the middle of the page.     "We are

20   starting that.      They placed a roadblock today, and I went there

21   and had it removed you see"?

22   A.   Yes.

23   Q.   What did you mean?

24   A.   But just as I explained earlier, Mr. Hakan Atilla did not

25   know about this matter as of the first time that we had met; so


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1    I approached Mr. Suleyman regarding this matter and came to a

2    solution.

3    Q.   Do you see further down where you say:       "The man made the

4    call in my presence"?

5    A.   Yes, sir.

6    Q.   "And said:    'You will do this job, do you understand'"?

7    A.   Yes, sir.

8    Q.   What did you mean there?

9    A.   Mr. Suleyman called Mr. Hakan in my presence and told him

10   that they will do this business, and I'm conveying this to

11   Mr. Abdullah Happani.

12   Q.   Do you see where you say:     "Hakan Atilla threw a wrench in

13   the gears, and he threw this thing"?

14   A.   Yes.

15   Q.   What did you mean by that?

16   A.   Just as it was heard in the first phone conversation

17   earlier, Hakan Atilla was not open to this idea for it to be

18   conducted.

19   Q.   And then do you see where Happani asks you:        "So is he

20   going to receive the six into the account now"?

21   A.   Yes, sir.

22   Q.   What's your understanding of what he was asking you?

23   A.   So referring to the payments for which I have called

24   Mr. Hakan, he's asking for a confirmation as to whether that

25   amount would be deposited or not.


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1    Q.   And how do you respond?

2    A.   I'm saying that they were going to deposit it into the

3    account.   It was going to happen.

4    Q.   Now, could you please play -- or my apologies.        Could we

5    please pull up Government Exhibit 298-T.        Just take a second

6    here.

7    A.   Yes, sir.

8    Q.   Do you recognize it?

9    A.   Yes, sir.

10   Q.   What is it?

11   A.   It's a transcript of a phone conversation.

12   Q.   Did you participate in that call?

13   A.   Yes, sir.

14   Q.   Do you remember it?

15   A.   I remember it, sir.

16   Q.   Have you listened to a recording of that call?

17   A.   I listened to that, sir.

18   Q.   Did it accurately capture your conversation?

19   A.   Yes, sir.

20   Q.   Who participated in that call?

21   A.   It was Hakkan Aydogan from Halkbank and myself.

22   Q.   Who is Hakkan Aydogan?

23   A.   Hakkan Aydogan is another staff member that worked at

24   Halkbank with regards to foreign transactions.

25   Q.   And what was the general purpose of this call?


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1    A.   We had discussed the food trade with Mr. Suleyman; so this

2    is in regards to that.

3    Q.   And was this before or after your meeting with Suleyman

4    Aslan?

5    A.   It's after that, sir.

6    Q.   And do you remember why you were talking to Aydogan?

7    A.   Mr. Aydogan possibly had received a call from the branch;

8    so he's just trying to figure out the matter.

9              (Continued on next page)

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     HBU3ATI7                   Zarrab - Direct

1    Q.   What were you discussing with him at this time?

2    A.   That we would be brokering food trade, that would do food

3    trade.

4              MR. KAMARAJU:    Your Honor, the government offers

5    Government Exhibit 298-T.

6              THE COURT:    I'll allow it.

7              (Government's Exhibit 298-T received in evidence)

8              MS. FLEMING:    Subject to authentication and

9    connection.

10             MR. KAMARAJU:    Could we please put up Government

11   Exhibit 1002 and 1002-T.     Can we go to page 22 on 1002-T, and

12   page 20 on 1002.

13             Can we start at the message that's on 21.04.2013,

14   13:04:13.

15   Q.   Do you see that message where you ask Suleyman Aslan "What

16   do you think about the news that showed up in the U.S.A. media.

17   Will that restrict you in a serious manner?"

18   A.   Yes, sir.

19   Q.   What did you mean by that?

20   A.   There were news on the media regarding the embargo and the

21   sanctions by the United States, the gold trade, and I'm

22   referring to that in this.

23   Q.   Do you see two messages down where Aslan says "They say

24   that the gold trade should be sanctioned."

25   A.   I see it, sir.


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1    Q.   Do you see later in the that same message that he says

2    "Hurriyet says in headlines that United States lawmakers wanted

3    Halkbank to be sanctioned."

4    A.   Yes, I see that, sir.

5    Q.   Do you see there is a message on 22.04.2013, 07:02:22.          Do

6    you see where it says "We will discontinue brokerage in the

7    gold trade by the end of May.      We will determine the absolute

8    end date after talking to you."

9    A.   Yes, I see that, sir.

10   Q.   What did you understand him to mean there?

11   A.   He says there is no change to the current system at this

12   point, but that he would stop the gold trade by the end of May,

13   but that he would discuss with me the final date for that trade

14   to occur by discussing this with me.

15             THE COURT:    Counsel, I think this is going to be a

16   good time we stop, because I have to take up something with you

17   all.   Is that okay with you?

18             MR. KAMARAJU:    I was going to ask about one more

19   message or two more messages.      It is two very short ones.        I'll

20   read them into the record.

21             THE COURT:    When you go to the Turkish bath, you're

22   going to sweat.

23             MR. KAMARAJU:    That is totally fair.

24   Q.   Do you see where Suleyman Aslan says the message at

25   4.22.2013, at 7:25:55, "No, we don't have a problem in the


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     HBU3ATI7

1    food.   Do you have a problem with the method proposed by Hakan

2    Atilla?"

3                THE COURT:   With what?

4    Q.   With the method proposed by Hakan Atilla?

5    A.   Yes, sir.

6    Q.   Do you see where it say related to the food trade payments?

7                THE INTERPRETER:   Could you repeat that, please?

8    Q.   Do you see where it says related to the food trade

9    payments?

10               THE INTERPRETER:   It's not up yet.

11   A.   Yes.

12   Q.   What do you say in response?

13   A.   I say, "No, that is absolutely a very correct method."

14               MR. KAMARAJU:   Your Honor, those are the few messages

15   I was hoping to complete today.

16               THE COURT:   We'll pick up with that tomorrow.      Thanks.

17   So we'll excuse the witness.      And we'll excuse the jury too.

18   I'll give the jury the instructions.

19               (Witness not present)

20               THE COURT:   Do you all want to leave?     You can if you

21   wish.

22               So the instructions are, first, don't talk to each

23   other about the case or about anyone who has anything do with

24   it until the end of the case when you go to the jury room to

25   deliberate.


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1              Second, don't talk with anyone else about the case or

2    about anyone who has anything to do with it until the trial has

3    ended and you have been discharged as jurors.

4              Third, don't let anyone talk to you about the case or

5    about anyone who has anything to do with it.         And if someone

6    should try to talk to you about the case, please report that to

7    Christine or me immediately.

8              Fourth, please don't read any news or internet stories

9    or articles or blogs or listen to any radio or TV or cable or

10   internet reports about the case or about anyone who has

11   anything to do with it.

12             And fifth, please do not do any type of research or

13   investigation about the case on your own.

14             So we're making good progress and I'll see you

15   tomorrow morning.    Tomorrow, Friday, I think you can count on

16   being home after 2 o'clock some time.       So we're going to have a

17   shortened day.    Okay.   Thanks very much.

18             (Jury excused)

19             THE COURT:    I want to talk to you about a request we

20   got from the media.     And it is about the feed in the overflow

21   courtroom.   Remember we discussed this yesterday.

22             So the technology is such, as you know, that the way

23   we see the exhibits up here can't be shown downstairs.          That is

24   to say, the technology is such that you can't see the exhibit

25   before and after.    So, if the exhibit hasn't become an exhibit


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1    and it were introduced into evidence, that's all that can be

2    shown.   And so, for example, if something does not ultimately

3    get admitted into evidence, they see it anyway early, so to

4    speak.

5              So, what we did today was not to show the exhibits

6    down there to avoid that issue.       And people are upset and I

7    understand it.    In the overflow courtroom, unlike here, they

8    can't see the documents.     And it doesn't seem to me that this

9    is going to be fixed any time soon, because it is a programming

10   issue.   There is nothing wrong with the system, but the system

11   is not programmed in the overflow courtroom as it is up here.

12             So, my proposal is going to be that, for tomorrow, we

13   go back to the way it was and they'll see, whoever is in the

14   overflow courtroom, will see documents, even though they may

15   not get admitted into evidence, if that's agreeable to you.

16             MR. DENTON:    Your Honor, I don't think we have a

17   problem with that as long as we can be sure that the jury

18   doesn't see anything before it's admitted.

19             THE COURT:    No, it has no impact in this courtroom.

20   What happens in this courtroom is working correctly and will

21   continue to work the same way.      This only relates to the

22   overflow courtroom where the problem seems to exist, and

23   there's interest in seeing -- those are people who can't fit

24   into this courtroom.     And they're interested in seeing the

25   documents.


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1              One thing we could do is give them the advice that

2    whatever they might see may not really come into the case as

3    evidence ultimately.

4              MR. ROCCO:    But, your Honor, I think under those

5    circumstances, you can't muzzle the press.

6              THE COURT:    You can't what?

7              MR. ROCCO:    You can't muzzle the public or the press.

8    It's already there.     So that creates a problem for us.       Quite

9    frankly, because there are a lot of people watching what's

10   going on here.

11             THE COURT:    Well, the only ones who can see what's

12   actually going on here are those in this courtroom.          And there

13   are not enough seats.     I don't know how many people are down in

14   the overflow, but sufficient number that they have asked us.

15             MR. ROCCO:    There are two rooms.

16             THE COURT:    I know that, but I don't know how many

17   people -- there is one room in particular that has the most of

18   the overflow.

19             MR. ROCCO:    Your Honor, can we confer among ourselves?

20             THE COURT:    Yes.

21             MR. ROCCO:    Certainly the press will or whoever is in

22   the overflow room will have access to whatever's admitted into

23   evidence at some point --

24             THE COURT:    Their complaint is they don't see it.

25             MR. ROCCO:    Simultaneously?


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1              THE COURT:    Yes.

2              MR. ROCCO:    So the solution is --

3              THE COURT:    As they had been, by the way, unbeknownst

4    to myself.   When the system was set up it went for Monday,

5    Tuesday, Wednesday, the way it was going, and no one knew that,

6    you know, you couldn't distinguish down there between

7    pre-exhibit and exhibit.       So that's the issue.    So they saw it

8    that way up until yesterday.

9              MR. ROCCO:    With all the heads at defense table, may

10   we have a minute to confer?

11             THE COURT:    Sure.

12             (Pause)

13             MR. ROCCO:    Your Honor, our concern is that there is a

14   lot going on here that affects the rights of people, and quite

15   frankly, if something is not admitted into evidence, we think

16   that it is unfair to those people who aren't here in the

17   courtroom, aren't represented by counsel, so we would prefer

18   leaving the system in place that what's admitted into evidence

19   is essentially what's published to the world, and what is not

20   stays unpublished.

21             THE COURT:    How are those people going to see and when

22   will they be able to see what's published?

23             MR. ROCCO:    Well, one proposal -- I'm sorry, I didn't

24   mean to interrupt the Court.

25             THE COURT:    No.


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1              MR. ROCCO:    One proposal would be at the end of the

2    day what's admitted into evidence, they would get to see.

3              THE COURT:    Hard copy or something?

4              MR. ROCCO:    Sure.   Hard copies or PDFs.     It could be

5    published.   And we could make it our business to make sure that

6    it's available, to assist the Court in any way we can.

7              I think in terms of what's said in this courtroom,

8    because in a sense the eyes of the world are watching, I think

9    to the extent there are privacy rights simply indicated, and

10   things are not published in the courtroom, I don't think that

11   we can agree to a system where what's marked for evidence winds

12   up --

13             THE COURT:    In the public domain.

14             MS. FLEMING:    We've been asked by members of the press

15   if we would make exhibits available, they've asked us, for

16   example, for the government's exhibits.        We've sent them to the

17   government and said it's not our business to give them

18   government exhibits.     I think if the Court said at the end of

19   the day each side should make our exhibits available, I think

20   that would be fine.     The ones that are in evidence.

21             MR. DENTON:    I think we're talking about a little bit

22   of a logistical nightmare in terms of people who are focused on

23   trying a case and not a media strategy.

24             We also have a particular problem here because defense

25   counsel has objected to page one of the various transcripts,


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1    which are still subject to connection and authentication.            So

2    we would be in a position where we would have to be offering --

3    we have to make redacted exhibits of pages two through the end

4    to be available, because that's the part that's been fully

5    admitted at this point.     So I think we are in a situation where

6    that's a little bit of a problem.

7              If defense counsel's position is it is too difficult

8    or not appropriate to display downstairs, I think we may have

9    to just live with the current status quo.

10             THE COURT:    I don't think we can do that.      People are

11   certainly entitled to the exhibits.       Why don't you, after we

12   break up here, meet and confer with the government and see.            I

13   do think we should make exhibits available and see how much is

14   entailed.   I haven't been keeping track.       I don't know how many

15   exhibits, for example, are admitted on a particular day.             But

16   they are probably available in hard copy somewhere.          Right?

17   Because that's how they get introduced.

18             MS. FLEMING:    Somewhere.

19             MR. ROCCO:    Yes, and I think we can probably put them

20   all together, but I think they're scattered.

21             MS. FLEMING:    I'm sure we can do it if we worked

22   together.

23             THE COURT:    What kind of time frame do you think if we

24   stopped now?    There must be some sort of an easier way.

25             MR. DENTON:    I think as far as timing, your Honor, we


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1    would obviously have to wait for the court reporters every day

2    because we would have to review the transcript to get the sort

3    of official word on which exhibits were admitted.         Then I think

4    obviously we would have to prepare the transcripts for any of

5    the exhibits that have only been fully received in part at this

6    time.   And I think then we're talking about quite late at

7    night, and frankly, a somewhat limited set of resources.

8              I'm not suggesting the press doesn't have a right to

9    public exhibits at a public trial, but I think also asking the

10   parties to produce that in hard copy is frankly going to make

11   it difficult to prepare for the next day.

12             THE COURT:    I get it.   Okay.   All right.    Why don't

13   you meet and confer and see if you can come up with anything

14   and I'll think about it until tomorrow.

15             MS. FLEMING:    I asked Sid how long he thought he would

16   be and can we ask who the next witness is?        Or if they want to

17   tell us privately, that's fine.

18             MR. KAMARAJU:    I'm going to go back and review the

19   direct and see.    I anticipate I will take up at least all of

20   tomorrow.   But I may be able to cut it down, but I think

21   tomorrow for sure.     We'll inform them of all the witnesses.

22             THE COURT:    Okay.   And I need to have you come early

23   tomorrow because I have to go through my notes.         I'm a little

24   unclear about the transcripts versus the CDs so to speak.

25             MR. KAMARAJU:    Okay.


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1               THE COURT:   And before we do talk tomorrow, if you

2    could look in -- I think there are oral statements relating to

3    motions in limine that bear on this issue, and then it was

4    discussed yesterday in a transcript and then seemed a little

5    inconsistent to me.     I didn't quite get how you're planning to

6    go about authenticating it.      If you would look up that issue,

7    see what's been said, those are the two places that I can

8    remember that it has been discussed before.        Maybe other places

9    as well.

10              MR. KAMARAJU:   Sure.   I can just offer for

11   communications that Mr. Zarrab himself --

12              THE COURT:   Don't answer now.     First look at it, I

13   wasn't sure it was consistent.       So first you've got to get

14   consistent.    I don't want a third version, if there is two

15   versions now.

16              MR. KAMARAJU:   Okay.

17              THE COURT:   All right.    So I'll see you 8:45.

18              (Adjourned until December 1, 2017, 8:45 a.m.)

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